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                                                                                      E-FILED
                                                      Friday, 21 September, 2018 07:15:47 PM
                                                                  Clerk, U.S. District Court, ILCD

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                            PEORIA DIVISION

NATURAL RESOURCES DEFENSE
COUNCIL, INC.; RESPIRATORY HEALTH
ASSOCIATION; and SIERRA CLUB, INC.,

Plaintiffs,                           Case No. 13-cv-01181
                                      United States District Judge
                     v.               Joe Billy McDade

ILLINOIS POWER RESOURCES              Magistrate Judge
GENERATING, LLC,                      Thomas P. Schanzle-Haskins III

Defendant.


     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY
              JUDGMENT CONCERNING INJUNCTIVE RELIEF
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June 15, 2018 Deposition of Mr. Ralph L. Roberson (Excerpted)             DB

May 7, 2018 Expert Rebuttal Report of Dr. H. Andrew Gray (Excerpted)      DC

EPA Policy Assessment for the Review of the PM NAAQS (Excerpted)          DD

EPA RIA for the Final Transport Rule (Excerpted)                          DE

June 27, 2018 Deposition of Dr. Lucy Fraiser (Excerpted)                  DF

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Plaintiffs’ March 10, 2017 First Request for Production of Documents
Relating to Remedy                                                        DH

Defendant’s May 1, 2017 Response to Plaintiffs’ First Request for
Production of Documents                                                   DI

June 8, 2018 Deposition of Mr. Robert M. Lewis (Excerpted)                DJ

May 7, 2018 Expert Rebuttal Report of Mr. Jonathan S. Shefftz
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EPA Compliance Assurance Monitoring Protocol for an ESP Controlling
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January 17, 2018 Expert Report of Dr. H. Andrew Gray (Excerpted)          DM

EPA Table of Historical Particulate Matter NAAQS                          DN



Sealed Exhibits                                                           Letter

May 7, 2018 Expert Rebuttal Report of Dr. Ranajit Sahu (Excerpted)        EA

January 17, 2018 Expert Report of Dr. Ranajit Sahu (Excerpted)            EB

March 21, 2018 Expert Report of Mr. J. Edward Cichanowicz (Excerpted)     EC



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March 21, 2018 Expert Report of Mr. Ralph Roberson (Excerpted)            EF

March 21, 2018 Expert Report of Dr. Anne E. Smith (Excerpted)             EG

March 21, 2018 Expert Report of Mr. Tony Schroeder (Excerpted)            EH

February 10, 2015 Dustex Proposal, IPR-IPRG-360863                        EI

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                                         INTRODUCTION

       There is substantial evidence that IPRG’s Clean Air Act violations at Edwards are

harming the environment and public health in and around Peoria. The facts sufficient to show

that IPRG’s violations are causing some harm that warrants injunctive relief under the Act are

undisputed. IPRG’s claims that there is “no evidence of harm” and that Plaintiffs “are not

entitled to any injunctive relief” contradict its own experts’ testimony, this Court’s liability

ruling, and the relevant authorities on what injuries are cognizable under the Clean Air Act and

analogous environmental-protection laws. IPRG’s secondary claims about the economic burdens

of new pollution control are immaterial on summary judgment, unsubstantiated, and inadequate

to overcome the strong presumption that injunctive relief is warranted whenever it is needed to

end environmentally harmful violations and secure prompt compliance with the law.

       This Court need not decide the precise contours of an injunction now, and some of the

relevant evidence will be easier to weigh at trial. But injunctive relief is unquestionably an

available and appropriate remedy for IPRG’s harmful and ongoing Clean Air Act violations.

IPRG’s summary judgment motion should be denied. 1

               RESPONSE TO IPRG’S STATEMENT OF MATERIAL FACTS 2

Undisputed Material Facts

       1.        Plaintiffs brought this lawsuit against Defendant Illinois Power Resources

Generating, LLC (“IPRG”) seeking to hold it responsible for alleged violations of the opacity




       1
           Plaintiffs also request oral argument.
       2
         This Response classifies as immaterial statements that are immaterial to the arguments
IPRG includes in its Motion for Summary Judgment Concerning Injunctive Relief (Motion), and
omits the subheadings within IPRG’s Undisputed Facts section, which include no citations and
sometimes mischaracterize the record.

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and PM limitations in its permit for its coal fired power plant, Edwards Power Station

(“Edwards”). (Doc. 1, 88.)

          14.   PM2.5 refers to particles with a nominal mean aerodynamic diameter of less than

or equal to 2.5 μm. 40 C.F.R. § 50.18(a). PM10 refers to particles with a nominal mean

aerodynamic diameter of less than or equal to 10 μm. 78 Fed. Reg. at 3091; 40 C.F.R. § 50.6(c)

(2013).

          33.   Plaintiffs’ expert, Dr. Ron Sahu, conducted a correlation of opacity to PM

emissions at Edwards and used that correlation to estimate PM emissions at Edwards. (Sahu Dep.

at 297:23-24, 298:1-20, relevant excerpts attached herein as Ex. 8.)

Disputed Material Facts

          2.    On August 23, 2016, this Court entered an opinion and order, granting in part

Plaintiffs’ motion for partial summary judgment on liability on certain claims of opacity

violations and, by presumption, PM violations between April 18, 2008 and June 30, 2014. (Doc.

124.)

          Response:    Plaintiffs dispute this statement as a legal conclusion and to the extent it

contradicts the August 23, 2016 Opinion & Order on Summary Judgment (Liability Order), ECF

No. 124, which speaks for itself. In the Liability Order, the Court explained that Plaintiffs “rely

upon the opacity exceedances established in the first two claims in order to establish a derivative

violation of the particulate matter standards. See 35 Ill. Admin. Code § 212.124(d)(2)(A)

(explaining that for certain power plants, opacity exceedances may also be deemed particulate

matter exceedances).” Liability Order, ECF No. 124, at 5. The Court found § 212.124(d)(2)

applied to the Plant during the relevant time period, Liability Order, ECF No. 124, at 27-33.




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       3.      The Court held that IPRG could not use the malfunction or breakdown

exemptions in its permit for opacity events about which the Illinois Environmental Protection

Agency (“IEPA”) was not notified “as soon as possible during normal working hours” in

accordance with condition 5(c) of Edwards’ permit. (Doc. 124 at 39-46.)

       Response:      Plaintiffs dispute this statement as a legal conclusion and to the extent it

contradicts the Liability Order, ECF No. 124, which speaks for itself. The Court explained that

       Edwards’ Permit imposes certain conditions on the plant’s ability to operate
       during malfunction and breakdown, including requirements that “[t]he
       permittee . . . notify the Illinois EPA’s Regional Office by telephone as soon as
       possible during normal working hours upon the occurrence of excess emission
       due to malfunctions or breakdowns,” and “maintain records of excess emissions
       during malfunctions and breakdowns . . . [that] include . . . [t]he steps taken to
       prevent similar malfunctions or breakdowns. . . .” Permit Conditions 5(c), (d)(v),
       (Doc. 104-8 at 2, 3).

Liability Order, ECF No. 124, at 39-40. The Court noted that “Defendants conceded that these

conditions in Permit Condition 5 were the sort that they needed to comply with in order to

establish the prima facie defense provided by 35 Ill. Admin. Code § 201.265,” Liability Order,

ECF No. 124, at 40 n.13. After rejecting IPRG’s notification arguments, the Court also noted that

“It is unnecessary to resolve whether Edwards kept proper records of malfunctions and

breakdowns for resolution of these motions.” Liability Order, ECF No. 124, at 40 n.15.

       40.     Dr. Sahu identified opacity exceedances in the post-liability period that Plaintiffs

believe are not exempt under a defense or exemption provided under Edwards’ operating permit

or Illinois regulations. (Ex. 9 at 12-15; Sahu Exhibit K, discussed in Ex. 8 at 126-27 and attached

here as Ex. 10.)

       Response:      Plaintiffs dispute this statement to the extent it suggests that Dr. Sahu was

the one identifying the post-liability period exceedances that were not exempt under the 8-minute

exemption in 35 Illinois Administrative Code § 212.123(b), as that identification was made by

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Plaintiffs. May 7, 2018 Expert Rebuttal Report of Dr. Ranajit Sahu (Sahu Rebuttal), Ex. EA, at

18-19; Pl. Ninth Supp, Objs. and Resps. to Def. First Set of Interrogs. Related to Remedy, Ex. 9

to Mot. (Pl. Supp. ROG Resp.), ECF No. 180-5, at 14-15; Pl. Opening Summ. J. Br., ECF No.

184-1, at 30-31. Plaintiffs note that the document attached as Exhibit 10 to IPRG’s motion is

small and segmented to the point of being unreadable. See Ex. 10 to Mot., filed under seal at

ECF No. 182.

       41.     Despite identifying those post-liability non-exempt opacity exceedances, Dr. Sahu

never determined the amount of PM associated with the opacity exceedances that he said are not

exempt. (Ex. 8 at 337:4 – 338:2.)

       Response:

       a.      Plaintiffs dispute this statement. Dr. Sahu determined the amount of particulate

matter associated with the Plant’s opacity violations by developing and subtracting estimates of

how much less PM2.5 pollution Edwards would have released had it installed the controls needed

to avoid (as to baghouses) or meaningfully reduce (as to new ESPs) its violations during the

liability period. Sahu Rebuttal, Ex. EA, at 43-44; Jan. 17, 2018 Expert Report of Dr. Ranajit

Sahu (Sahu Report), Ex. EB, at 42-47. Dr. Sahu concluded that Edwards would continue to

violate its opacity limit with its current equipment and that it needs baghouses to avoid, and new

ESPs to substantially reduce, its violating exceedances. Sahu Report, Ex. EB, at 5, 39-42; Sahu

Rebuttal, Ex. EA, at 7, 24-43. IPRG’s experts did not disagree that Edwards will continue to

violate its opacity limits with its current equipment. July 2, 2018 Cichanowicz Dep., Ex. DA, at

108:19–109:16; June 15, 2018 Roberson Dep., Ex. DB, at 261:18–262:14; 264:1–265:17. Nor

did they identify any pollution-control equipment that they claim would allow Edwards to

eliminate further violating opacity exceedances. See July 2, 2018 Cichanowicz Dep., Ex. DA, at



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108:19–109:16; June 15, 2018 Roberson Dep., Ex. DB, at 261:18–262:14; 264:1–265:17; see

also Mar. 21, 2018 Expert Report of Mr. J. Edward Cichanowicz, Ex. EC, at 38, 44-48. Although

IPRG’s experts questioned whether baghouses would eliminate all opacity violations, they

agreed that baghouses would improve the Plant’s opacity performance. July 2, 2018

Cichanowicz Dep., Ex. DA, at 116:15–117:19, 142:9–147:16; June 26, 2018 Keeler Dep.,

Ex. ED, at 93:9–96:19.

       b.      Dr. Sahu concluded that once the necessary pollution controls are installed, they

operate at all times; there is no pollution control device that can only be switched on when

opacity is above 30%. Sahu Rebuttal, Ex. EA, at 43-44; June 21, 2018 Sahu Dep., Ex. EE, at

338:22–339:17. IPRG has never identified, and Plaintiffs are unaware of, any alternative

technology that would have kicked in only when the Edwards Plant was about to violate the

Clean Air Act and then curbed the Plant’s emissions just enough to avoid the violation. See, e.g.,

June 15, 2018 Roberson Dep., Ex. DB, at 242:12–245:13.

       c.      Dr. Gray performed dispersion modeling of emissions from Edwards to evaluate

the various emission scenarios. May 7, 2018 Expert Rebuttal Report of Dr. H. Andrew Gray

(Gray Rebuttal), Ex. DC, at 1. He explained, “[b]y running the model for every hour during the

modeling period, and comparing the results to the base case, we obtain an estimate of the overall

air quality benefits that would occur if either of those controls were in place.” Gray Rebuttal, Ex.

DC, at 3. Using the results of Dr. Gray’s dispersion modeling, Dr. Schwartz performed a

quantitative risk assessment to determine the number of premature deaths and hospitalizations in

the Peoria area that would have been avoided had IPRG installed the pollution controls Dr. Sahu

identified as necessary to avoid (baghouses) or substantially reduce (new ESPs) IPRG’s Clean

Air Act violations and increased PM2.5 pollution. May 7, 2018 Expert Rebuttal Report of Dr. Joel



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Schwartz, Ex. BF to Pl. Opp. to Def. Mot. to Exclude (Schwartz Rebuttal), ECF No. 193-7,

at 32, 42-43.

       43.      IPRG’s expert Dr. Anne Smith calculated the amount of PM associated with both

(a) opacity exceedances identified by the Court in its ruling on liability, and (b) a representative

portion of the non-exempt opacity exceedances identified by Dr. Sahu for the post-liability

period. (Decl. of A. Smith at ¶ 13, attached herein as Ex. 11.) For both those calculations, she

used Dr. Sahu’s correlation of opacity to PM. (Id.)

       Response:       This statement violates Local Rule 7.1 and should be disregarded. Local

Rule 7.1(D)(1)(b) requires parties to “[i]nclude as exhibits to the motion [for summary judgment]

all relevant documentary evidence” and, “[f]or each fact asserted, provide citations to the

documentary evidence that supports it, appropriately referencing the exhibit and page.” The only

support cited for this statement is one conclusory paragraph in a declaration. The declaration

paragraph begins with “[a]s discussed in my report and my deposition,” ECF No. 180-6 ¶ 13, but

does not cite where in the report or deposition this information is contained. Moreover, IPRG has

not included as an exhibit the report or deposition, or relevant excerpts from those documents.

Plaintiffs cannot fully respond to this statement because it is not clear what calculations the

declaration is referring to. This statement should be stricken. See C.D. Ill. R. 7.1(D) (“Any

filings not in compliance may be stricken by the court.”).

       To the extent Plaintiffs can generally respond to this statement based on the limited

information presented, Dr. Smith’s estimates grossly understate the amount of excess emissions

associated with IPRG’s Clean Air Act violations because they rely on the unsubstantiated

premise that some opacity control can kick in only during nonexempt exceedances above 30%

opacity and reduce the opacity to exactly 30%. See response to statement 41, supra.



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        45.     IPRG’s toxicology expert Lucy Fraiser, PhD, analyzed the amount of PM

associated with the allegedly non-exempt opacity exceedances at Edwards. She concluded that

PM concentrations associated with those allegedly non-exempt opacity exceedances are too

small to cause harm to human health. (Decl. of L. Fraiser at ¶ 24, attached herein as Ex. 12.)

Plaintiffs have no toxicology expert to rebut Dr. Fraiser’s conclusions.

        Response:

        a.      This statement violates Local Rule 7.1 and should be disregarded. Local Rule

7.1(D)(1)(b) requires parties to “[i]nclude as exhibits to the motion all relevant documentary

evidence” and “[f]or each fact asserted, provide citations to the documentary evidence that

supports it, appropriately referencing the exhibit and page.” The only support cited for this

statement is one conclusory paragraph in a declaration from Dr. Fraiser that states that the PM2.5

concentrations “associated with the non-exempt opacity exceedances (as calculated by Dr. Smith

and modeled by Mr. Schroeder) . . . are too small to cause harm to human health.” Fraiser Decl.,

ECF No. 180-7, ¶ 24. Although the declaration earlier references an expert report and deposition

of Dr. Fraiser, id. ¶ 8, it does not cite to either, or any other documents to support its conclusory

statements. Moreover, IPRG has not included as an exhibit the report or deposition (or relevant

excerpts of either). Plaintiffs cannot fully respond to this statement because it is not clear what

calculations and modeling the declaration is referring to. (Nevertheless, see responses to

statements 41-44, supra & infra, disputing Dr. Smith’s and Mr. Schroeder’s conclusions—to the

extent Plaintiffs can ascertain them—and noting that even those flawed conclusions still showed

increased PM2.5 emissions associated with IPRG’s Clean Air Act violations.) This statement

should be stricken. See C.D. Ill. R. 7.1(D) (“Any filings not in compliance may be stricken by

the court.”).



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        b.      Plaintiffs dispute Dr. Fraiser’s conclusion that the levels of PM emitted in

connection with opacity limit exceedances at Edwards are too small to cause harm, since (as will

be proven at trial through expert testimony if necessary) the relationship between PM and

adverse health effects, like mortality, are linear with no discernable threshold below which those

health effects no longer occur. See EPA PM ISA, ECF No. 193-12, at 2-25; EPA PM RIA, ECF

No. 193-3, at ES-11, ES-20; Jan. 17, 2018 Expert Report of Dr. Joel Schwartz, Ex. BA to Pl.

Opp. to Def. Mot. to Exclude (Schwartz Report), ECF No. 193-2, at 38; Schwartz Rebuttal, ECF

No. 193-7, at 17. Because of this relationship, an increase in ambient PM2.5 concentrations, even

if small, will result in an increased risk of adverse health effects. Schwartz Report, ECF No. 193-

2, at 38; Schwartz Rebuttal, ECF No. 193-7, at 17.

        EPA has estimated the health benefits of reductions in PM2.5 concentrations similar to the

excess PM2.5 concentrations at issue in this case. EPA Regulatory Impact Analysis for the Final

Clean Air Visibility Rule, Ex. BL to Pl. Opp. to Def. Mot. to Exclude (EPA Visibility Rule RIA),

ECF No. 193-13, at 3-16 tbl.3-6 (showing reductions in PM2.5 concentrations for three

pollution-control scenarios), 4-68 tbl.4-15 (estimating reductions in premature mortality for each

scenario); see also Schwartz Rebuttal, ECF No. 193-7, at 17. And Plaintiffs’ public-health

expert, Dr. Joel Schwartz, conducted a risk assessment that estimated how many premature

deaths and hospital admissions could have been avoided in the greater Peoria area if the Edwards

Plant had installed, by the start of the liability period, the pollution controls Plaintiffs’

engineering expert concluded are needed to avoid or substantially reduce the Plant’s Clean Air

Act violations. Schwartz Report, ECF No. 193-2, at 68-82; Schwartz Rebuttal, ECF No. 193-7,

at 26-43. His risk assessment also estimated how many premature deaths and hospital admissions

would be avoided in the future if the Edwards Plant installed those same types of pollution



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controls now. Schwartz Report, ECF No. 193-2, at 82; Schwartz Rebuttal, ECF No. 193-7, at 43.

Dr. Schwartz’s risk assessment showed that the “Edwards’s Plant’s illegal emission of PM have

resulted in a quantifiable number of deaths and hospital admissions.” Schwartz Report, ECF No.

193-2, at 2.

         c.    Plaintiffs also dispute Dr. Fraiser’s conclusions that rest on the improper

calculations and modeling of Dr. Smith and Mr. Schroeder, including Mr. Schroeder’s improper

decision to cut PM2.5 emissions to 30% of their predicted values. See response to statement 44,

infra.

         d.    That Plaintiffs did not retain a toxicologist to “rebut” Dr. Fraiser’s testimony is

immaterial. Dr. Schwartz is a Professor of Environmental Epidemiology with the Harvard School

of Public Health and the Director of the Harvard Center for Risk Assessment. See Schwartz

Report, ECF No. 193-2, at App. A., at 1. He is one of the world’s leading experts on the health

hazards of breathing PM and has published more than one hundred peer-review articles on the

relationship between particulate matter and public health. Id. App. A, at 5-78. Dr. Schwartz is

qualified to rebut Dr. Fraiser’s opinions, and he submitted a 43-page rebuttal report principally

responding to the opinions in Dr. Fraiser’s report. See generally Schwartz Rebuttal, ECF No.

193-7.

         46.   Plaintiffs’ expert Dr. Gray, Ph.D, conducted modeling of the concentrations of

PM in the 25 kilometer radius of Edwards associated with all opacity at Edwards, but offered no

opinion concerning modeled impacts of PM associated with opacity exceedances (whether

exempt or not exempt), or the allegedly non-exempt opacity exceedances. (Gray Dep. at 334:20

– 338:4, relevant excerpts attached herein as Ex. 13) (“I didn’t calculate or make any estimates of




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the impacts only during opacity [excursions], and so I didn’t make any conclusions or opinions

regarding those periods separate from other periods.”)

       Response:       See also response to statement 41, supra.

       Plaintiffs dispute this statement. Dr. Gray did model the amount of particulate matter

associated with the Plant’s opacity violations by using and subtracting estimates, developed by

Dr. Sahu, of how much less PM2.5 pollution Edwards would have released had it installed the

controls needed to avoid (as to baghouses) or meaningfully reduce (as to new ESPs) its

violations during the liability period. Sahu Rebuttal, Ex. EA, at 43-44; Sahu Report, Ex. EB, at

42-47. Dr. Gray explained, “[b]y running the model for every hour during the modeling period,

and comparing the results to the base case, we obtain an estimate of the overall air quality

benefits that would occur if either of those controls were in place.” Gray Rebuttal, Ex. DC, at 3.

Dr. Sahu concluded that once the necessary pollution controls are installed, they operate at all

times; there is no pollution control device that can only be switched on when opacity is above

30%. Sahu Rebuttal, Ex. EA, at 43-44; June 21, 2018 Sahu Dep., Ex. EE, at 338:22–339:17.

IPRG has never identified, and Plaintiffs are unaware of, any alternative technology that would

have kicked in only when the Edwards Plant was about to violate the Clean Air Act and then

curbed the Plant’s emissions just enough to avoid the violation. See, e.g., June 15, 2018

Roberson Dep., Ex. DB, at 242:12–245:13.

       47.     Plaintiffs’ expert Dr. Schwartz offered no opinion concerning harm from PM

associated with opacity exceedances (whether exempt or not exempt), or the allegedly non-

exempt opacity exceedances identified. (Schwartz Dep. at 134:16-135:2, relevant excerpts

attached herein as Ex. 14) (risk assessment “wasn’t done on the excess emissions”). Dr.

Schwartz calculated only harm allegedly arising from PM associated with all of Edwards’



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opacity, regardless of whether the emissions were associated with an opacity exceedance or not.

(Ex. 14 at 165:17-24, 166:1-24, 167-1-7.)

       Response:       See also response to statement 41, supra. Plaintiffs dispute this statement.

Dr. Schwartz’s expert opinion that “the Edwards’s Plant’s illegal emission of PM have resulted

in a quantifiable number of deaths and hospital admissions,” Schwartz Report, ECF No. 193-2, at

2, is based his quantitative risk assessment estimating the harm from PM2.5 associated with

IPRG’s nonexempt opacity exceedances (or violations). Schwartz Report, ECF No. 193-2, at 2-3,

71-72; Schwartz Rebuttal, ECF No. 193-7, 32. Dr. Schwartz did not determine the harm from

“all” PM2.5 emissions from Edwards; his quantitative risk assessment was based on comparative

estimates, developed by Plaintiffs’ engineering and air-dispersion experts, of how much less

PM2.5 pollution Edwards would have released if it had installed the pollution controls needed to

avoid (or meaningfully reduce) its violations during the liability period. Schwartz Rebuttal, ECF

No. 193-7, at 32.

       Dr. Schwartz did not limit his quantitative risk assessment to only the “incremental

emissions that occurred during the violations at Edwards,” id. at 32, because “the only valid

comparisons for a quantitative risk assessment are between options that can be taken,” July 12,

2018 Schwartz Dep., Ex. A to Def. Mot. to Exclude, ECF No. 183-1, at 220:9-11, and no one has

identified a “pollution control strategy [that] would have reduced the emissions [at Edwards]

only during the periods of opacity violation but not in other periods,” id. at 182:16-19; see also

Schwartz Rebuttal, ECF No. 193-7, at 32 (stating that “waving a magic wand that would have

only controlled particle emissions during periods of violation” is “not a valid counterfactual”).

       In addition to his quantitative risk assessment, Dr. Schwartz also offered other opinions

concerning the harm associated with short- and long-term exposure to the additional PM2.5 the



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Plant omits during its opacity violations. See Schwartz Report, ECF No. 193-2, at 10-67. These

opinions include the scientific consensus that death rates increase with both long- and short-term

PM2.5 exposure, see id. at 10-32, other serious health consequences of exposure to PM2.5, see id.

at 40-52, and the scientific consensus that there is no “threshold” for adverse health effects from

PM2.5, see id. at 33-39. Dr. Schwartz performed a risk assessment to estimate the number of

premature deaths (or avoided deaths) attributable to decisions that affect PM2.5 levels in the

ambient air. See Schwartz Report, ECF No. 193-2, at 68-82; Schwartz Rebuttal, ECF No. 193-7,

at 42-43. To do so, Dr. Schwartz relied on comparative estimates, developed by Plaintiffs’

engineering and air-dispersion experts, of how much less PM2.5 pollution Edwards would have

released had it installed the controls needed to avoid (as to baghouses) or meaningfully reduce

(as to new ESPs) its violations during the liability period. See response to statements 41-42,

supra & infra.

Undisputed Immaterial Facts

       8.        On March 16, 2017, the parties entered into a Stipulation of Voluntary Dismissal,

under which Plaintiffs agreed to dismiss (1) all claims against former Defendant Illinois Power

Resources, LLC, (2) the Fourth Claim for Relief in the Complaint, (3) claims based on opacity

exceedances excluded from Plaintiffs’ partial summary judgment motion, and (4) claims based

on PM exceedances excluded from that motion. (Doc. 135 at 1-2.)

       Response:        Plaintiffs clarify with respect to (3) that they voluntarily dismissed their

claims based on opacity exceedances excluded from their Partial Summary Judgment Motion on

liability, as indicated in the corrected version of Exhibit 2 to the Motion and explained in the

accompanying text at pages 7-8 of the Memorandum. Stip. of Voluntary Dismissal, ECF No.

135, at 2; Ex. to Stip. of Voluntary Dismissal, ECF No. 135-1; see also Pl. Mem. of Law in



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Supp. of Pl. Mot. for Partial Summ. J., ECF No. 104-1, at 7-8.

       With respect to (4), Plaintiffs voluntarily dismissed claims based on particulate matter

exceedances excluded from Plaintiffs’ Partial Summary Judgment Motion on liability, as

indicated in the corrected version of Exhibit 3 to the Motion and explained in the accompanying

text at pages 7-8 of the Memorandum. Stip. of Voluntary Dismissal, ECF No. 135, at 2; Ex. to

Stip. of Voluntary Dismissal, ECF No. 135-2; see also Pl. Mem. of Law in Supp. of Pl. Mot. for

Partial Summ. J., ECF No. 104-1, at 7-8. The stipulation said nothing about opacity or particulate

matter exceedances that post-date the liability period.

       10.     National Ambient Air Quality Standards (“NAAQS”) are nationwide standards

for ambient air set by the United States Environmental Protection Agency (“USEPA”) under the

Clean Air Act. 42 U.S.C. § 7409(a)-(b).

       Response:       This statement is a legal conclusion rather than a statement of fact. It is

also immaterial to IPRG’s Motion because as Plaintiffs discuss in more detail in Argument

section V, infra, the NAAQS levels are irrelevant to whether the excess emissions attributable to

IPRG’s Clean Air Act violations have caused some harm cognizable under the Act (including but

not limited to harm to public health). See, e.g., North Carolina ex rel. Cooper v. TVA, 593 F.

Supp. 2d 812, 821 (W.D.N.C. 2009) (“PM2.5 exposure has significant negative impacts on human

health, even when the exposure occurs at levels at or below the NAAQS.”), rev’d on other

grounds, 615 F.3d 291 (4th Cir. 2010).

       According to EPA, the Clean Air Act “does not require [EPA] to establish a primary

NAAQS at a zero-risk level,” 62 Fed. Reg. 38,652, 38,653 (July 18, 1997), and the PM2.5

NAAQS are “not set at levels that eliminate the risk of air pollution,” EPA Regulatory Impact

Analysis for the Final Revisions to the National Ambient Air Quality Standards for Particulate



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Matter, Ex. BB to Pl. Opp. to Def. Mot. to Exclude (EPA PM RIA), ECF No. 193-3, at ES-20.

EPA has concluded that “causal relationship[s]” exist between short-term exposures to PM2.5 and

cardiovascular health harms, short-term exposures to PM2.5 and mortality, long-term exposures

to PM2.5 and cardiovascular health harms, and long-term exposures to PM2.5 and mortality. EPA

Integrated Science Assessment for Particulate Matter, Ex. BK to Pl. Opp. to Def. Mot. to

Exclude (EPA PM ISA), ECF No. 193-12, at 2-10 to 2-12.

       EPA has also determined that “no discernible thresholds have been identified for any

health effects associated with long- or short-term PM2.5 exposures,” EPA Policy Assessment for

the Review of the Particulate Matter National Ambient Air Quality Standards, Ex. DD, at ES-1

to ES-2, and has repeatedly calculated the health benefits of reductions of ambient PM2.5

concentrations below the annual PM2.5 NAAQS, see, e.g., EPA Regulatory Impact Analysis for

the Proposed Emission Guidelines for Greenhouse Gas Emissions from Existing Electric Utility

Generating Units, Ex. BC to Pl. Opp. to Def. Mot. to Exclude (EPA ACE RIA), ECF No. 193-4,

at 4-25 to 4-27, 4-35 tbl.4-8; EPA PM RIA, ECF No. 193-3, at ES-11 to ES-12; EPA Regulatory

Impact Analysis for the Final Transport Rule, Ex. DE, at 20, 192-93; EPA Visibility Rule RIA,

ECF No. 193-13, at 4-70.

       The parties’ experts agree that there are health risks from exposure to PM2.5 at levels

below the NAAQS. See Schwartz Report, ECF No. 193-2, at 38-39; Schwartz Rebuttal, ECF No.

193-7, at 2-4; June 27, 2018 Fraiser Dep., Ex. DF, at 123:6–124:4.

       11.     USEPA is required to set primary NAAQS at levels requisite to protect the public

health with an adequate margin of safety and secondary NAAQS at levels requisite to protect the

public welfare with an adequate margin of safety. Id. § 7409(b)(1)-(2).

       Response:      See response to statement 10, supra.



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       12.     NAAQS are required to be based on criteria that “accurately reflect the latest

scientific knowledge useful in indicating the kind and extent of all identifiable effects on public

health or welfare which may be expected from the presence of such pollutant in the ambient air,

in varying quantities.” Id. § 7408(a)(2). The Clean Air Act directs USEPA to review the NAAQS

every five years and revise them as appropriate. Id. § 7409(d)(1).

       Response:        See response to statement 10, supra.

       13.     USEPA has explained that “[p]articulate matter is a generic term for a broad class

of chemically and physically diverse substances that exist as discrete particles (liquid droplets or

solids) over a wide range of sizes, such that the indicator for a PM NAAQS has historically been

defined in terms of particle size ranges.” 78 Fed. Reg. 3086, 3090 n.4 (Jan. 15, 2013).

Accordingly, USEPA has currently established NAAQS concerning two sizes of PM: PM2.5 and

PM10. Id. at 3090-91.

       Response:        This statement is immaterial to IPRG’s Motion for the reasons provided in

response to statement 10, supra. Plaintiffs also dispute this statement to the extent that

“accordingly” implies a causal relationship between the two sentences, which IPRG’s citations

do not support.

       15.     The current primary NAAQS established by USEPA for PM2.5 are an annual

standard of 12.0 μg/m³ and a 24-hour standard of NAAQS at 35 μg/m³. 40 C.F.R. § 50.18(a). The

current primary NAAQS established by USEPA for PM10 is a 24-hour standard of 150 μg/m³.

40 C.F.R. § 50.6(a).

       Response:        See response to statement 10, supra.

       17.     Illinois has a network of air monitors to collect data with which to assess

compliance with the PM NAAQS. This includes an air monitor for PM2.5 located in Peoria



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County at 613 N.E. Jefferson, described as the City Office Building, which was in place during

the liability period of this case and remains in place during the post-liability period. (ILLINOIS

ENVIRONMENTAL PROTECTION AGENCY, ILLINOIS AIR QUALITY REPORTS (2008-2016),

http://www.epa.illinois.gov/topics/air-quality/air-quality-reports/index, relevant excerpts

attached herein as Ex. 3.) It also includes an air monitor for PM10 that was in place at the same

location from 2008 through 2010. (Id.)

       Response:       This statement is immaterial to IPRG’s Motion. How NAAQS compliance

is assessed in Illinois is irrelevant to whether the excess emissions attributable to IPRG’s Clean

Air Act violations have caused some harm cognizable under the Act (including but not limited to

harm to public health). See response to statement 10, supra.

       18.     Monitoring data from the Peoria City Office Building available for the liability

and post-liability period, in all instances, showed PM2.5 and PM10 was at levels below the PM2.5

and PM10 NAAQS. (Id.)

       Response:       This statement is immaterial to IPRG’s Motion because the Peoria area’s

compliance with the PM NAAQS is irrelevant to whether the excess emissions attributable to

IPRG’s Clean Air Act violations have caused some harm cognizable under the Act (including but

not limited to harm to public health). See response to statement 10, supra.

       19.     If a particular area does not meet applicable NAAQS for PM2.5 or PM10, the area

will be designated as being in “non-attainment” with that NAAQS by USEPA. 42 U.S.C. §

7407(d)(1)(A). USEPA has not made such a determination for the area in which Edwards is

located, Peoria County, or any of the counties adjacent to Peoria County. USEPA, Illinois

Nonattainment/Maintenance Status for each County by Year for All Criteria Pollutants (Aug. 23,

2018), https://www3.epa.gov/airquality/greenbook/anayo_il.html.



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       Response:      The first sentence of this statement is a conclusion of law rather than a

statement of fact. This statement is also immaterial to IPRG’s Motion, because the Peoria area’s

attainment of the PM NAAQS is irrelevant to whether the excess emissions attributable to

IPRG’s Clean Air Act violations have caused some harm cognizable under the Act (including but

not limited to harm to public health). See response to statement 10, supra.

       20.     The PM limits in the Edwards Air Operating Permit are based on PM limits set

under the Illinois State Implementation Plan (“IL SIP”). (Illinois Environmental Protection

Agency, Operating Permit for Edwards Power Station # 143805AAG (July 1, 2004), attached

herein as Ex. 4; 35 Ill. Admin. Code 212.202, 203.)

       Response:      The basis for the PM limits in Edwards’ operating permit is immaterial to

IPRG’s Motion, which rests on the false premise that none of IPRG’s violations (including its

opacity violations) are causing any harm cognizable under the Clean Air Act.

       21.     A state implementation plan includes regulations promulgated by a state and

approved by USEPA to ensure attainment or maintenance of the NAAQS. 42 U.S.C. §§ 7407(a),

7410(a).

       Response:      This is a statement of law rather than a statement of fact. Plaintiffs agree

that the Clean Air Act requires states to submit state implementation plans for approval by the

U.S. EPA that specify the manner in which NAAQS will be achieved and maintained. 42 U.S.C.

§§ 7407(a), 7410(a). The promulgation of a state implementation plan is immaterial to IPRG’s

Motion, which rests on the false premise that none of IPRG’s violations (including its opacity

violations) are causing any harm cognizable under the Clean Air Act.

       22.     The PM limits in the IL SIP and the Edwards permit are set at levels to ensure

compliance with the NAAQS. (Ex. 4; 35 Ill. Admin. Code 243.120.)



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       Response:       The basis for the PM limits in Edwards’ operating permit is immaterial to

IPRG’s Motion, which rests on the false premise that none of IPRG’s violations (including its

opacity violations) are causing any harm cognizable under the Clean Air Act. IPRG’s citations

do not support the statement. Plaintiffs agree that as a matter of law, state implementation plans

are required to help achieve and maintain NAAQS. 42 U.S.C. §§ 7407(a), 7410(a).

       25.     IEPA recently released for publication and comment a new air permit for

Edwards. The PM limits are unchanged. (Illinois Environmental Protection Agency, Proposed

Operating Permit for Edwards Power Station #143805AAG (Issuance Date TBD) at 63, attached

herein as Ex. 5.)

       Response:       The issuance of a draft permit and the PM limits in that draft are

immaterial to IPRG’s Motion, which rests on the false premise that none of IPRG’s violations of

its current permit (including its opacity violations) are causing any harm cognizable under the

Clean Air Act. It is undisputed that the “new air permit for Edwards” that IPRG references (ECF

No. 180-3) is a draft and is not in effect. This draft would also preserve the Edwards Plant’s 30%

opacity limit as an independent emissions limitation. See Draft Revised Clean Air Act Permit

Program Permit (Draft Title V Permit), Ex. 5 to Mot., ECF No. 180-3, at 21. The draft permit is

being developed under the Clean Air Act Permit Program, which is the operating permit program

established in Illinois for stationary sources of emissions that is required by Title V of the Clean

Air Act. Preliminary Draft - Edwards Power Station CAAPP Permit Statement of Basis

(Statement of Basis), Ex. DG, at 4 n.3. The draft permit is being developed pursuant to the Clean

Air Act’s prevention of significant deterioration and other requirements for individual sources of

air pollution. See Draft Title V Permit, ECF No. 180-3, at 4 ¶ 1.5 (referencing prevention of

significant deterioration requirements).



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       26.     The new IEPA permit changes the triggers for the reporting of any malfunction or

breakdown. Only non-exempt exceedances lasting more than 42 minutes, instead of those lasting

just 6 minutes, are subject to the requirement. (Ex. 5 at 96.)

       Response:       The issuance of a draft permit and its proposed time of exceedances for

notifying Illinois EPA of any malfunction or breakdown is immaterial to IPRG’s Motion, which

rests on the false premise that none of IPRG’s violations (including its opacity violations) are

causing any harm cognizable under the Clean Air Act. 3

       35.     On August 7, 2018, after the close of expert discovery, Plaintiffs stated “[b]ased

on the facts presently available to them, Plaintiffs do not expect to present evidence concerning

specific occasions on or after April 16, 2015 on which the Plant exceeded its PM standard or

limit at the remedy trial in this case.” (Plaintiffs’ Ninth Supplemental Objections and Responses

to Defendants’ First Set of Interrogatories Related to Remedy at 16, attached herein as Ex. 9.)

       Response:       Evidence concerning specific occasions on or after April 16, 2015 on

which the Plant exceeded its particulate matter standard or limits is immaterial to IPRG’s

Motion, which rests on the false premise that none of IPRG’s violations (including its opacity

violations) are causing any harm cognizable under the Clean Air Act. Plaintiffs do not dispute

that their Ninth Supplemental Objections and Responses include the language IPRG quotes, but

for completeness add that Plaintiffs also stated:

       Plaintiffs may, however, present evidence of PM emission rates from a September
       2017 stack test (which was not produced to Plaintiffs until IPRG’s March 21
       expert disclosure) and estimated PM emission rates from opacity correlations
       developed by IPRG expert Ralph Roberson (based on the September 2017 stack

       3
         IPRG describes and cites to this statement in its Argument section I.A. for the
proposition that it signals Illinois EPA has “little concern that PM associated with shorter, six
minute exceedances poses any threat to human health. SUF No. 26.” Def. Mot. for Summ. J.
Concerning Inj. Relief, ECF No. 180 (Mot.), at 16. This mischaracterizes the statement, which
the Court should disregard.

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       test) to respond to anticipated claims by IPRG to the effect that the Edwards
       Plant’s PM emissions both during and since the liability period have remained
       below numeric limits in the Plant’s operating permit, and/or are immaterial for
       purposes of the factors relevant to the Court’s application of the injunctive-relief
       standards and civil-penalty factors.

Pl. Supp. ROG Resp., ECF No. 180-5, at 16.

       37.     Plaintiffs’ experts Dr. Sahu, Dr. Andrew Gray, and Dr. Schwartz, offered no

opinion that the area surrounding Edwards had failed to meet established NAAQS for PM.

       Response:       This statement is immaterial to IPRG’s Motion for Summary Judgment

Concerning Injunctive Relief, which rests on the false premise that none of IPRG’s violations

(including its opacity violations) are causing any harm cognizable under the Clean Air Act.

See response to statements 10, 16, 41, 45, 47, supra, and Argument section V, infra.

       38.     Plaintiffs have offered no evidence of a PM NAAQS exceedance concerning the

Peoria area.

       Response:       This statement is immaterial to IPRG’s Motion for Summary Judgment

Concerning Injunctive Relief, which rests on the false premise that none of IPRG’s violations

(including its opacity violations) are causing any harm cognizable under the Clean Air Act.

See response to statements 10, 16, 41, 45, 47, supra, and Argument section V, infra.

       39.     Under Edwards’ operating permit, “Operation in excess of applicable opacity . . .

standards is allowed during periods of startup, malfunction, and breakdown.” (Ex. 4 at ¶ 5a.)

       Response:       This statement is immaterial to IPRG’s Motion, which rests on the false

premise that none of IPRG’s violations (including its opacity violations) are causing any harm

cognizable under the Clean Air Act. Plaintiffs add that to qualify for the defense under this

provision, IPRG must abide by recordkeeping, notification, and operational requirements in

Permit Conditions 5b, 5c, 5d, 5e, and 5f. Permit, ECF No. 180-2. IPRG has not made that



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showing for all of the violations it claims are exempt pursuant to paragraph 5a. See, e.g., Pl.

Opening Mem. in Supp. of Partial Summ. J. on Remedy (Pl. Opening Summ. J. Br.), ECF No.

184-1, at 31 n.12; Ex. AR to Pl. Mot. for Partial Summ. J. on Remedy, filed under seal at ECF

No. 187.

        49.     Plaintiffs estimate that baghouses for Units 2 and 3 would cost $51.7 million and

$64.2 million, respectively, or $115.9 million total, in 2009 dollars. (Ex. 9 at 11.)

        Response:       This statement is immaterial to IPRG’s Motion, which rests on the false

premise that none of IPRG’s violations (including its opacity violations) are causing any harm

cognizable under the Clean Air Act, and the subsidiary premise that there is no harm to balance

against the costs of injunctive relief.

        50.     Plaintiffs estimate that new ESPs for Units 2 and 3 would cost $28 million and

$36.6 million, respectively, or $64.6 million total, in 2011 dollars. (Ex. 9 at 11.)

        Response:       See response to statement 49, supra.

Disputed Immaterial Facts

        4.      The Court also held that IPRG, in all but a few instances, could not make use of

evidence of compliance with its PM limits as a defense for Plaintiffs’ presumptive PM violation

claims, in part, because “Edwards only became subject to promulgated Section 112 regulations

after the relevant time period at issue.” (Doc. 124 at 25-31.)

        Response:       Plaintiffs dispute this statement as a legal conclusion and to the extent it

contradicts the Liability Order, ECF No. 124, which speaks for itself. The Court concluded that

Section 212.124(d)(2) provides Edwards with its sole method of proving the Particulate Matter

Defense during the liability period. Liability Order, ECF No. 124, at 33-36. The Court concluded




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that Section 212.124(d)(2)(B) provides the sole particulate matter defense to opacity violations.

Liability Order, ECF No. 124, at 38.

       To satisfy it, Edwards needed to conduct a stack test while operating with an
       opacity that was equal to or greater than the original exceedance within sixty days
       of that exceedance. There is no evidence that Edwards conducted any such tests,
       so Plaintiffs are entitled to summary judgment on Defendants’ particulate matter
       defense for those counts.

Id. The Court concluded that Section 212.124(d)(2)(A) provides the sole particulate matter

defense to the corresponding particulate matter violations. Liability Order, ECF No. 124, at 38.

       To satisfy it, Edwards needed to conduct a stack test under the same operating
       conditions that were present during the initial exceedance within sixty days of that
       exceedance. Plaintiffs are also entitled to summary judgment on Defendants’
       particulate matter defense for all exceedances on Count Three except for those
       that occurred within sixty days prior to a stack test, which Plaintiffs excluded
       from their motion.

Id. at 38-39. The Court made no finding on whether IPRG had any evidence of compliance with

its PM limits in any instances. The Court found that “Defendants are not entitled to summary

judgment as to Counts One, Two, and Three because they have not shown, through undisputed

evidence, compliance with § 212.124(d)(2).” Liability Order, ECF No. 124, at 39.

       5.      The Court made no finding, on the merits, that any harm flowed from any of the

opacity violations, or from the presumed PM violations, for which the Edwards plant could not

claim an exemption.

       Response:       Plaintiffs dispute this statement as a legal conclusion and to the extent it

contradicts the Liability Order, ECF No. 124, which speaks for itself. The Clean Air Act is a

strict liability statute, and IPRG’s liability for violating Edwards’ opacity and particulate limits

does not turn on evidence that the violations have caused harm to any specific person. Moreover,

as Plaintiffs discuss in Argument sections I-V, infra, evidence that a defendant is violating an

emissions limit enforceable through the Clean Air Act, in ways that impair air quality and lead to

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the release of additional pollution, establishes irreparable harm. The Court also found in the

context of standing that violations of this nature injure Plaintiffs’ members. See, e.g., Liability

Order, ECF No. 124, at 18 (“Here, there is no dispute that particulate matter of the type emitted

by Edwards can be harmful.”). The Court held that “the undisputed facts show that members of

NRDC and the Sierra Club have suffered an injury in fact that is fairly traceable to Edwards’

emissions and would be redressed by a judgment in favor of Plaintiffs.” Id. at 24.

       6.      Indeed, the Court credited the statements of Plaintiffs’ standing witnesses that

they have “stipulated that they did not suffer any health harms because of Edwards’ emissions.”

(Doc. 124 at 19 (citing Doc. 109-10).)

       Response:       See response to statement 5, supra.

       7.      The Court also expressly held (agreeing with IPRG and accepting Plaintiffs’

concession) that Plaintiffs could not rely on a presumption, under 35 Ill. Admin. Code

§ 212.124(d)(2), to prove “future violations” of PM limitations. (Id. at 23.)

       Response:       The applicability of § 212.124(d)(2) to prove future violations of PM

limitations is immaterial to IPRG’s Motion, which rests on the false premise that none of IPRG’s

violations (including its opacity violations) are causing any harm cognizable under the Clean Air

Act. Plaintiffs dispute this statement as a legal conclusion and to the extent it contradicts the

Liability Order, ECF No. 124, which speaks for itself. In rejecting IPRG’s argument that

Plaintiffs cannot show a likelihood of future particulate matter violations, because the Plant

became subject to Section 112 of the Clean Air Act on April 16, 2015, when the Mercury and

Air Toxics Standard (MATS) rule took effect, the Court explained,

       Plaintiffs rely upon 35 Ill. Admin. Code § 212.124(d)(2) to prove that Edwards
       violated its particulate matter limits, and Plaintiffs concede that they could not
       prove future particulate matter violations in that way. However, this confuses the
       issue. Just because a plaintiff could no longer prove particulate matter violations

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       through § 212.124(d)(2) does not mean that particulate matter limits no longer
       apply to Edwards. It simply takes one way to establish the particulate matter
       violations off the table. In this case, Plaintiffs have alleged that Edwards
       continued to violate particulate matter limits, and have (as discussed below)
       proven that continuing violation. Just because the method of proof the Plaintiffs
       have relied upon does not apply to future violations does not negate that proof of
       past continuing violations or suggest that future violations will not occur.

Liability Order, ECF No. 124, at 23-24; see also id. at 28 n.10.

       9.      In response to the Court’s order, IPRG instituted and adheres to a new procedure

for reporting malfunction and breakdown events to IEPA as soon as possible during normal

working hours, which was formalized through a procedure document. (Lindenbusch Dep. at 247-

257, relevant excerpts attached herein as Ex. 1; “Opacity Exceedances Due to Malfunction or

Breakdown Notification,” discussed in Ex. 1 at 288 and attached herein as Ex. 2.)

       Response:       This statement is immaterial to IPRG’s Motion. It is undisputed that IPRG

is still violating the Clean Air Act, after instituting this procedure. June 26, 2018 Keeler Dep.,

Ex. ED, at 161:4–162:2; see also Pl. Opening Summ. J. Br., ECF No. 184-1, Stmt. Of

Undisputed Facts at 6-7 ¶¶ 27-31 & Arg. § IX at 29-33 (describing violations identified in

IPRG’s reports and expert’s testimony and compiled in supporting Ex. U); Ex. U to Pl. Mot. for

Partial Summ. J. on Remedy, ECF No. 184-30 (violation compilation).

       IPRG’s citations do not support the stated reason for the procedure. Plaintiffs do not

dispute that IPRG instituted a new procedure, but do dispute that IPRG is fully “adher[ing] to”

the procedure. In particular, Plaintiffs dispute whether IPRG has faithfully applied the

procedure’s definition for malfunction or breakdown (“Any sudden, infrequent and not

reasonably preventable failure of air pollution control equipment, process equipment, or a

process to operate in a normal or usual manner.” Ex. 2 to Mot. filed under seal at ECF No. 182,

at IPR-IPRG-400403.) Sahu Report, Ex. EB, at 15-18 (concluding the vast majority of



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exceedances reported as attributable to malfunctions per Permit Condition 5(c) do not meet the

definition of malfunction or breakdown); Sahu Rebuttal, Ex. EA, at 19-21 (same). IPRG’s own

expert, Mr. Thomas Keeler, purported to apply the procedure’s definition but classified some

events differently than the Plant had. June 26, 2018 Keeler Dep., Ex. ED, at 119:15–121:9.

       16.     The NAAQS for PM “provide requisite protection of public health and welfare.”

78 Fed. Reg. at 3088. The current annual PM2.5 standard provides “protection against health

effects associated with long- and short-term exposures,” id. at 3088, and the current 24-hour

PM2.5 standard and PM10 standard provide protection against “effects associated with short-term

exposures.” Id. at 3088-89.

       Response:       This statement is a legal conclusion rather than a statement of fact. It also

selectively quotes the preamble to a regulation, which speaks for itself. It is also immaterial to

IPRG’s Motion; the NAAQS are irrelevant to whether the excess emissions attributable to

IPRG’s Clean Air Act violations have caused some harm cognizable under the Act (including but

not limited to harm to public health).

       Plaintiffs also dispute this statement to the extent that IPRG implies that there are no

health effects associated with exposure to PM2.5 at concentrations below the NAAQS. See

response to statement 10, supra; see, e.g., North Carolina ex rel. Cooper, 593 F. Supp. 2d at 821

(recognizing that “PM2.5 exposure has significant negative impacts on human health, even when

the exposure occurs at levels at or below the NAAQS.”). The parties’ experts agree that there are

health risks from exposure to PM2.5 at levels below the NAAQS. See Schwartz Report, ECF No.

193-2, at 38-39; Schwartz Rebuttal, ECF No. 193-7, at 2-4; June 27, 2018 Fraiser Dep., Ex. DF,

at 123:6–124:4. Plaintiffs’ public-health expert, Dr. Joel Schwartz, conservatively estimates that

there would have been 2.3 fewer deaths and .56 fewer hospitalizations from cardiovascular



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disease in the Peoria area during the liability period had the Edwards Plant installed the

baghouses that Plaintiffs’ engineering expert considers necessary for the Plant to avoid its Clean

Air Act violations. See Schwartz Rebuttal, ECF No. 193-7, at 42.

       23.     Opacity is not a pollutant. It means “that fraction of light, expressed in percent,

which when transmitted from a source through a smoke-obscured path, is prevented from

reaching the observer or instrument receiver.” 35 Ill. Admin. Code 211.4130. At Edwards,

opacity is measured using devices called Continuous Opacity Monitors. (Ex. 1 at 233:1-23,

234:1-14.)

       Response:       IPRG provides no citations to support the first sentence. The sentence is

also immaterial because IPRG’s characterization of opacity as a non-pollutant does not alter the

fact that IPRG is subject to independently enforceable opacity limits and has exceeded those

limits thousands of times. Plaintiffs also dispute IPRG’s characterization. Opacity limits are

emissions standards enforceable through the Clean Air Act. Liability Order, ECF No. 124, at 3-4;

Operating Permit, Ex. 4 to Mot. (Permit), ECF No. 180-2, Condition 3; 35 Ill. Admin. Code §

212.123. IEPA stated the following in comments to Illinois Pollution Control Board (IPCB)

concerning the proposed opacity rules, including the provisions now codified as 35 Ill. Admin.

Code §§ 212.123 and 212.124:

       [T]he Agency concurs with the Board’s earlier statement, “…the appearance of an
       emission relates directly to the esthetic concerns, which should not be overlooked
       in air pollution control.” (4 PBC 310) The fact that dirty and unsightly smoke
       plumes “unreasonably interfere with the enjoyment of life or property” is
       evidenced by the frequency of citizen complaints to the Agency which are
       stimulated by such observations.

Oct. 9, 1985 IEPA Comments on the Record and on the Proposed Rule, Second First Notice, Ex.

30 to Pl. Mot. for Partial Summ. J., ECF No. 104-39, at 6. In its comments concerning a version

of the opacity regulation in which opacity exceedances would not be directly enforceable, EPA

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(which has authority to approve or disapprove state implementation plan provisions) stated as

follows:

       The purpose of this letter is to register our very serious concerns with the Board’s
       proposal. The proposal to modify 35 Ill. Adm. Code 212.123(a) regarding the
       opacity standard cannot be approved by USEPA if it is finally adopted in the form
       presently contemplated by the Board. . . .

       Section 51.19(c) of Title 40 of the Code of Federal Regulations clearly requires a
       State to establish a system for detecting violations of rules and regulations
       through the enforcement of appropriate visible emission limitations and for
       investigating complaints. The Board’s proposed modification of Section
       212.123(a) would preclude the use of visible emissions as an enforcement tool.

Feb. 26, 1986 Letter from Steve Rothblatt, Chief, Air & Radiation Branch, EPA, to Jacob D.

Dumelle, Chairman, IPCB, Ex. 31 to Pl. Mot. for Partial Summ. J., ECF No. 104-40, at 1.

Following further revisions by IPCB to the opacity standard in the Proposed Rule, IEPA stated in

a letter to IPCB as follows:

       [T]he Pollution Control Board originally adopted standards for the emissions of
       particulate matter from coal-fired boilers as long ago as April 13, 1972. Because
       of a delayed date of compliance in that adoption and because of subsequent court
       reversings of the regulations and remandings back to the Board, it was not until
       July 2, 1986 that the Board was able to validly adopt such a regulation.

       The particulate standards for coal-fired boilers, however, represent, even at this
       late date, only “half a measure”. The opacity standards have not been promulgated
       even though they were also first proposed on January 21, 1982, and even though
       the most recent first notice was issued August 14, 1986. I call the particulate
       standards without the opacity provisions only half a measure because it is difficult
       (and expensive) to enforce a particulate limit without the use of an opacity limit as
       a surrogate. An opacity limit is also desirable because it will enable the Agency to
       cooperate with the United States Environmental Protection Agency’s (USEPA’s)
       announced policy of requiring continuous emissions monitoring systems for the
       larger emissions sources. . . .

       USEPA and the Agency both recognize that good control strategies for particulate
       matter also control PM10. In particular, the Agency considers the above
       mentioned Board particulate emission standards for coal-fired boilers to be just as
       necessary for PM10 control as for particulate control. . . .




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       What is needed therefore is a fulfillment of the emission standards by a prompt
       promulgation of the opacity standards after a new first notice to replace the one
       that expired one year after August 14, 1986.

Nov. 6, 1987 Letter from Michael J. Hayes, Manager, Division of Air Pollution Control, IEPA,

to Jacob D. Dumelle, Chairman, IPCB, Ex. 32 to Pl. Mot. for Partial Summ. J., ECF No. 104-41.

       With respect to the second sentence of IPRG’s statement 23, Plaintiffs do not dispute that

35 Ill. Admin. Code § 211.4130 describes opacity, but add that the Court noted that “[o]pacity is

the degree to which particulate matter emissions reduce the transmission of light and obscure the

view of an object in the background.” Liability Order, ECF No. 124, at 3 n.7.

       Plaintiffs do not dispute the third sentence of IPRG’s statement 23.

       24.     PM is a term for a broad class of substances which is defined as “any solid or

liquid material, other than water, which exists in a finely divided form.” 35 Ill. Admin. Code

211.4510. The current Edwards air permit lists a PM limit of 0.15 lbs/MMBtu for Unit 2 and a

PM limit of 0.10 lbs/MMBtu for Unit 3. (Ex. 4 at ¶2.)

       Response:       The definition of PM is immaterial to IPRG’s Motion for Summary

Judgment Concerning Injunctive Relief, which rests on the false premise that none of IPRG’s

violations (including its opacity violations) are causing any harm cognizable under the Clean Air

Act. Plaintiffs agree that 35 Ill. Admin. Code § 211.4510 defines particulate matter as “any solid

or liquid material, other than water, which exists in finely divided form.” Plaintiffs dispute the

second sentence of IPRG’s statement 24 to the extent that it omits that the boilers shall not

exceed those limits “in any one-hour period.” Permit, ECF No. 180-2, Condition 2.

       27.     Particulate matter emissions from the boilers at Edwards (and opacity) are

controlled by ESPs and flue gas conditioning (dual feed and SO3 injection system). (Ex. 5 at 60.)




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       Response:       The devices IPRG uses to lower, but not adequately control, particulate

matter emissions from the boilers at Edwards is immaterial to IPRG’s Motion, which does not

cite statement 27 and also rests on the false premise that none of IPRG’s violations (including its

opacity violations) are causing any harm cognizable under the Clean Air Act. Plaintiffs do not

dispute that IPRG uses electrostatic precipitators (ESPs) and flue gas conditioning to try to

reduce opacity and particulate matter emissions from the boilers at Edwards. Plaintiffs dispute

this statement to the extent “controlled” implies that the pollution controls for opacity and

particulate matter that are in place at Edwards today adequately control emissions for purposes of

IPRG’s Clean Air Act obligations. It is undisputed that IPRG is not controlling particulate matter

enough to avoid continued violations of the Act. June 26, 2018 Keeler Dep., Ex. ED, at 161:4–

162:2; Sahu Rebuttal, Ex. EA, at 23-24; Pl. Opening Summ. J. Br., ECF No. 184-1, at 29-33; Ex.

U to Pl. Mot. for Partial Summ. J. on Remedy, ECF No. 184-30.

       28.     Plaintiffs’ allegations of PM violations in their Complaint, and the Court’s finding

of PM violations at summary judgment, were based on a regulatory presumption, not evidence of

any actual PM violations. (Doc. 88 at 13-14, Doc. 124 at 5.)

       Response:       The basis for and evidence of the Plant’s already adjudicated particulate

matter violations are immaterial to IPRG’s Motion for Summary Judgment Concerning

Injunctive Relief, which rests on the false premise that none of IPRG’s violations (including its

opacity violations) are causing any harm cognizable under the Clean Air Act.

       Plaintiffs also dispute this statement as a legal conclusion and to the extent it contradicts

the Liability Order, ECF No. 124, which speaks for itself. In the Liability Order, the Court

explained that Plaintiffs “rely upon the opacity exceedances established in the first two claims in

order to establish a derivative violation of the particulate matter standards. See 35 Ill. Admin.



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Code § 212.124(d)(2)(A) (explaining that for certain power plants, opacity exceedances may also

be deemed particulate matter exceedances).” Liability Order, ECF No. 124, at 5. The Court

found § 212.124(d) applied to the Plant during the relevant time period. Id. at 27-33. Violations

of the Plant’s 30% opacity limits is evidence of particulate matter violations. 35 Ill. Admin. Code

§ 212.124(d)(2)(A).

       29.     Method 5 PM stack tests are the method specified under the IL SIP for

demonstrating compliance with PM limits. 35 Ill. Admin. Code 212.110; See, 40 C.F.R., Pt. 60,

Appendix A-3.

       Response:      The methods for demonstrating compliance with PM limits under the

Illinois SIP are immaterial to IPRG’s Motion, which rests on the false premise that none of

IPRG’s violations (including its opacity violations) are causing any harm cognizable under the

Clean Air Act. Plaintiffs agree that 35 Ill. Admin. Code 212.110 states that “[m]easurement of

particulate matter emission units subject to this Part shall be conducted in accordance with 40

CFR part 60, Appendix A, Methods 5, 5A, 5D, or 5E.” Plaintiffs dispute the statement to the

extent it implies Method 5 PM stack tests are the only method under the Illinois SIP to

demonstrate compliance or lack of compliance with the Edwards Plant’s one-hour PM limits—

opacity over/under 30% has been a method for demonstrating compliance or lack of compliance

with the PM limits. See 35 Ill. Admin. Code § 212.124(d)(2).

       30.     Method 5 tests were conducted at Edwards in July 2013, April 2014, September

2014, December 2015, April 2016, February 2017, March 2017, May 2017, June 2017, July

2017, September 2017, December 2017, February 2018, April 2018, and July 2018. (Roberson

Dep. at 45:8-16, relevant excerpts attached herein as Ex. 6; Method 5 Test Reports, discussed in




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Ex. 6 at 45:8-16 and attached herein as Ex. 7a-v.) Results from all of these tests showed that

Edwards was in compliance with its PM limits. (Ex. 7a-v.)

       Response:      Compliance with PM limits during certain hour periods of testing is

immaterial to IPRG’s Motion, which rests on the false premise that none of IPRG’s violations

(including its opacity violations) are causing any harm cognizable under the Clean Air Act.

Plaintiffs do not dispute Method 5 tests were conducted at Edwards during those months.

Plaintiffs dispute that results from all of these tests showed that Edwards was in compliance with

its PM limits 0.15 lb/mmBtu limit in any one-hour period at Boiler 2 and 0.10 lb/mmBtu limit in

any one-hour period at Boiler 3, see Permit, ECF No. 180-2, Condition 2; the results from two of

them show the exact opposite. Exhibit 7n shows that Boiler 3 exceeded its PM emission limit on

September 27, 2017 with a one-hour period of 0.102 lb/mmBtu PM emissions. Ex. 7n to Mot.,

filed under seal at ECF No. 182, at 4. Further, Exhibit 7c shows a one-hour period at Boiler 2

with a PM emission rate of 0.203 lb/mmBtu on April 24, 2014. Ex. 7c to Mot., filed under seal at

ECF No. 182, at IPR-IPRG-013915. Plaintiffs also dispute this statement to the extent it implies

Edwards was in compliance with its particulate matter limits at any times beyond those tested,

which almost universally occurred when the average opacity was below 30%. See March 21,

2018 Expert Report of Mr. Ralph Roberson (Roberson Report), Ex. EF, at App. A.

       31.     A Method 5 PM stack test conducted in September 2017 showed Edwards in

compliance with its PM limits when opacity was at levels greater than 30%. (Ex. 7n at 5, 8.)

       Response:      Compliance with PM limits during certain hour periods of testing is

immaterial to IPRG’s Motion, which rests on the false premise that none of IPRG’s violations

(including its opacity violations) are causing any harm cognizable under the Clean Air Act.

Plaintiffs also dispute this statement. As explained in response to statement 30, supra, Exhibit 7n



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shows that Boiler 3 exceeded its PM emission limit on September 27, 2017 with a one-hour

period of 0.102 lb/mmBtu. Ex. 7n to Mot. filed under seal at ECF No. 182, at 4. This exceedance

occurred over a 71-minute period with an average opacity of 33.6%. Id. at 75-76. It is undisputed

that Edwards’ emissions have exceeded and continue to exceed 33.6% opacity. Edwards 2018

Quarterly Opacity Excess Emissions Reports, Ex. B to Pl. Mot. for Partial Summ. J. on Remedy,

ECF No. 184-5, at 47 (examples of recent reported opacity exceedances over 33.6%)

       32.     In addition to PM, opacity is also measured and recorded during Method 5 stack

tests. IPRG’s expert, Ralph Roberson, using data from Method 5 stack tests, studied the

correlation between opacity and PM emission rates at Edwards, and concluded that Edwards did

not violate its PM limitation during the period of this litigation, even at opacity levels above

30%. (Ex. 6 at 24:4-25:24, 43:12-20; 44:21-47:5.)

       Response:       Compliance with PM limits is immaterial to IPRG’s Motion, which rests

on the false premise that none of IPRG’s violations (including its opacity violations) are causing

any harm cognizable under the Clean Air Act. Plaintiffs dispute the assertion that Mr.

Roberson’s report provides a basis to conclude that PM limits were not exceeded at the

individual units. It is undisputed that multiple stack test runs show particulate matter emission

rates over one-hour periods that exceed Edwards’ permitted limits. See Ex. 7c to Mot. filed under

seal at ECF No. 182, at IPR-IPRG-013915 (showing test run with emissions rate of 0.203

lb/mmBtu at Common Stack 1 serving Units 1 and 2); Ex. 7n to Mot. filed under seal at ECF No.

182, at 4 (showing test run with emissions rate of 0.102 lb/mmBtu at Unit 3); Sahu Rebuttal, Ex.

EA, at 46. It is also undisputed that Mr. Roberson’s correlations show exceedances of Edwards’

permitted particulate matter limits at certain opacities above 30%, that are reflected in Edwards’

reported opacity values. Sahu Rebuttal, Ex. EA, at 46-48; Roberson Report, Ex. EF, at 7.



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Plaintiffs also dispute this statement to the extent it implies IPRG did not violate the PM limits at

Edwards during the liability period; this Court has already found that it did based on evidence

from self-reported opacity violations. Liability Order, ECF No. 124, at 38-39, 49. Plaintiffs

dispute the statement to the extent that IPRG tries to relitigate that decision.

       34.     Dr. Sahu, despite preparing his own study of the correlation between opacity and

PM at Edwards, did not disagree with, or rebut, Mr. Roberson’s conclusion that Edwards did not

violate its PM limitation during the period of this litigation, even at opacity levels above 30%.

(Ex. 8 at 114:7-13; 297:23-24, 298:1-20.)

       Response:       Compliance with PM limits is immaterial to IPRG’s Motion, which rests

on the false premise that none of IPRG’s violations (including its opacity violations) are causing

any harm cognizable under the Clean Air Act. 4 IPRG’s citations are incomplete and do not

support its statement. See June 21, 2018 Sahu Dep., Ex. EE, at 112:23–114:13 (question stating

we’ll return to Mr. Roberson’s report later and focusing question on Opinions 2 and 3 of Dr.

Sahu’s initial report), 297:14–298:20 (correcting description of opacity data used for certain time

period to estimate particulate matter emissions). And other record evidence contradicts IPRG’s

statement. Dr. Sahu explained that Mr. Roberson’s correlation for Unit 3 predicts particulate

matter emissions above Unit 3’s limit whenever opacity is 36% or higher and that one of the

September 2017 Unit 3 test runs that Roberson based his correlation on resulted in a particulate

matter emission rate of 0.103 lb/mmBtu when the opacity was 33.6%. Sahu Rebuttal, Ex. EA, at

46-47. Dr. Sahu also explained there are many problems with Mr. Roberson’s correlation (which



       4
         IPRG cites this statement for the proposition that “Even Plaintiffs’ expert, Dr. Sahu,
admits that when opacity levels at the Edwards plant have exceeded 30% the level of PM is still
within the PM limitation in its permit.” Mot. 16. This mischaracterizes the statement, which the
Court should disregard as immaterial, unsubstantiated, and disputed in any event.

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formed the basis for Mr. Roberson’s flawed conclusion), including the limited number of and

small range of data points, as well as the undisputed fact that Mr. Roberson’s correlation predicts

negative particulate matter emissions rates at certain opacity values, suggesting the plant is

somehow removing particulate matter from the atmosphere. Sahu Rebuttal, Ex. EA, at 45-47.

Mr. Roberson does not dispute these flaws. June 15, 2018 Roberson Dep., Ex. DB, 98:1–104:5.

       36.     Plaintiffs have offered no evidence of PM emissions in excess of the amount of

emissions allowed under Edwards’ IEPA permit.

       Response:       Evidence of PM emissions in excess of the amount of emissions allowed

under Edwards’ IEPA permit is immaterial to IPRG’s Motion, which rests on the false premise

that none of IPRG’s violations (including its opacity violations) are causing any harm cognizable

under the Clean Air Act. Plaintiffs dispute this statement: IPRG’s own estimates show evidence

of particulate matter emissions that violate the limits in Edwards’ permit. See response to

statements 30-32, 34, supra.

       42.     Dr. Sahu likewise never determined the amount of PM associated with the opacity

exceedances identified by the Court in its ruling on liability.

       Response:       See also response to statement 41, supra. This statement is immaterial to

IPRG’s Motion, which rests on the false premise that none of IPRG’s violations (including its

opacity violations) are causing any harm cognizable under the Clean Air Act. Dr. Sahu

determined, and it is not genuinely disputed, that there is some additional PM pollution

associated with violating opacity exceedances. See Pl. Add’l Material Facts (Facts) ¶ 4, infra.

       44.     Plaintiffs do not rebut Dr. Smith’s calculations (for both the liability and post-

liability periods) of PM associated with the opacity exceedances that Plaintiffs contend, or the




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Court has determined, are not exempt (referred to hereinafter as the “non-exempt opacity

exceedances”).

       Response:       Dr. Smith’s calculations are immaterial to IPRG’s Motion, which rests on

the false premise that none of IPRG’s violations (including its opacity violations) are causing any

harm cognizable under the Clean Air Act. Plaintiffs dispute Dr. Smith’s calculations for many

reasons, including those explained in responses to statements 41 and 43, supra. Additionally,

Plaintiffs dispute Dr. Smith’s calculations attempting to correct an error that was not in fact

present in Dr. Sahu’s calculations, Sahu Rebuttal, Ex. EA, at 58-59. Although it is unclear what

calculations this statement is referring to, Plaintiffs dispute Dr. Smith’s calculations that relied

on IPRG’s dispersion modeler, which inappropriately cut the PM2.5 emissions to 30% of their

predicted values based on data from other coal plants in the 1980s. March 21, 2018 Expert

Report of Dr. Anne Smith (Smith Report), Ex. EG, at 15 (describing cases using assumptions

provided by IPRG expert Tony Schroeder that adjust for PM2.5 fraction); March 21, 2018 Expert

Report of Mr. Tony Schroeder (Schroeder Report), Ex. EH, at 6, 8, 11 (explaining cut of

emissions to 30%); Sahu Rebuttal, Ex. EA, at 48-57 (explaining why 30% is wrong and

contradicts Plant specific data). IPRG’s expert, Mr. Thomas Keeler, conceded that the actual

fraction is “probably higher.” June 26, 2018 Keeler Dep., Ex. ED, at 286:17–287:1. Plaintiffs

further note that even Dr. Smith’s flawed calculations all show increased emissions of PM2.5

from IPRG’s Clean Air Act violations. Smith Report, Ex. EG, at 13-14.

       48.     Plaintiffs seek a court order for injunctive relief mandating the installation of two

baghouses on Edwards Units 2 and 3 or, in the alternative, a court order mandating the

installation of two new ESPs on Units 2 and 3. (Ex. 9 at 10-11.)

       Response:       This characterization is immaterial to IPRG’s Motion, which rests on the



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false premise that none of IPRG’s violations (including its opacity violations) are causing any

harm cognizable under the Clean Air Act, and the subsidiary premise that there is no harm to

balance against the costs of injunctive relief. Plaintiffs dispute this characterization of the

injunctive relief they will seek. Plaintiffs will almost certainly ask the Court for an order

mandating baghouse installation on Units 2 and 3, may also ask for an order mandating

installation of new, adequately sized, properly designed ESPs on Units 2 and 3, and may seek

other forms of injunctive relief including: numeric caps on PM emissions; numeric caps on

generation/capacity levels (e.g., permanent derates) at Units 2 and 3 (the still-operating units);

installation of continuous emissions monitoring systems for PM on Units 2 and 3; real or close to

real-time public reporting of measured opacity and PM emissions from Units 2 and 3; and

stipulated penalties following each new violation of the current opacity and PM limits applicable

to Units 2 and 3, and/or any alternative caps or limits imposed by the Court; and mitigation

projects. See Pl. Supp. ROG Resp., ECF No. 180-5, at 10-12.

          51.   An injunction ordering IPRG to install two new baghouses or two new ESPs

would lead to closure of the Edwards Plant. (Decl. of B. Boswell, attached herein as Ex. 15.)

          Response:

          a.    This statement is immaterial with respect to IPRG’s Motion, which rests on the

false premise that none of IPRG’s violations are causing harm cognizable under the Clean Air

Act, and the subsidiary premise that there is no harm to balance against the costs of injunctive

relief.

          b.    This statement is based only on a conclusory and unsupported declaration filed

four days after the summary-judgment deadline. The late-filed declaration and citations to it

violate Local Rule 7.1 and should be disregarded. The declaration is based on unspecified



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discussions and unspecified “information available today,” and asserts an injunction order will

trigger a decision by other individuals “to move forward with the closure of the Edwards plant.”

Boswell Decl., ECF No. 189 ¶ 7. The only explanation is that, baghouses and new ESPs “are

prohibitively expensive” and “would render the plant uneconomic to operate.” Id.

       c.      This is the first time IPRG has made such an assertion, and it is contrary to

extensive evidence in the record. IPRG and the Plant’s previous owner have solicited proposals

from outside contractors to install baghouses. Those proposals have ranged in price from $18

million for one baghouse for Unit 3, Feb. 10, 2015 Dustex, IPR-IPRG-360863, Ex. EI, at 12, to

$231 million for two baghouses to control emissions from the Plant’s three units, Jan. 17, 2011

Burns & McDonnell, IPR-IPRG-352850, Ex. EJ, at IPR-IPRG-352853. See Sahu Report, Ex.

EB, at 41 & n.64 (citing May 23, 2014 Dustex, IPR-IPRG-352925, Ex. EK; May 25, 2011, URS,

IPR-IPRG-354186, Ex. EL; Feb. 10, 2015 Dustex, IPR-IPRG-360863, Ex. EI; Jan. 17, 2011

Burns & McDonnell, IPR-IPRG-352850, Ex. EJ; Dec. 22, 2010 Burns & McDonnell, IPR-IPRG-

352885, Ex. EM); see also Dec. 16, 2014, Babcock & Wilcox, IPR-IPRG-395524, Ex. EN. The

Plant also inserted plans to install baghouses in formal budget documents at least twice in the

past decade. Nov. 30, 2017 Henning Dep., Ex. EO at 74:9–77:14; Nov. 30, 2017 Lindenbusch

Dep., Ex. ES, 200:18–214:1; 222:16–223:10; Dec. 21, 2017 IPRG Dep., Ex. ET, at 58:6–59:6

(discussing putting in cost from Dustex baghouse proposal as possibility in five-year plan).

       d.      In 2011, the Plant put in a budgetary spreadsheet $202 million for the installation

of baghouses for Units 2 and 3 in 2014. Nov. 30, 2017 Henning Dep., Ex. EO, at 74:9–77:14;

Oct. 6, 2011 Email, Ex. R103 to Nov. 30, 2017 Henning Dep., IPR-IPRG-023796, Ex. EP; Oct.

10, 2011 Email, Ex. R104 to Nov. 30, 2017 Henning Dep., IPR-IPRG-361568, Ex. EQ; Oct. 13,

2011 Edwards Alternative Capex Solutions, Ex. R105 to Nov. 30, 2017 Henning Dep., IPR-



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IPRG-361545, Ex. ER. The Plant removed the baghouses from the budget and instead budgeted

for upgrades on the Unit 2 ESP and a helper ESP on Unit 3 (which was never installed). Oct. 10,

2011 Email, Ex. R104 to Nov. 30, 2017 Henning Dep., IPR-IPRG-361568, Ex. EQ; Draft Title V

Permit, Ex. 5 to Mot., ECF No. 180-3, at 60.

       e.      In 2014, the Plant budgeted $51 million ($48 million for direct capital costs and

$3 million for removal costs) for a project that included the possibility of installing baghouses

for Units 2 and 3 in 2018 in its 5-year capital forecast. Nov. 30, 2017 Lindenbusch Dep., Ex. ES,

200:18–214:1; 222:16–223:10, Edwards Plant 2015-2019 and 2016-2020 five-year capital

budget forecast, Budget Forecast, IPR-IPRG-093645, Ex. EU, at 11-12 (showing capital and

removal costs for “Precipitator Upgrade Baghouse” project in row 106 for Unit 2 and row 128

for Unit 3); Dec. 21, 2017 IPRG Dep., Ex. ET, at 20:22–22:24. The next year the forecasted

baghouse spending was removed. Edwards Plant 2015-2019 and 2016-2020 five-year capital

budget forecast, Budget Forecast, IPR-IPRG-093645, Ex. EU, at 4-6; Dec. 21, 2017 IPRG Dep.,

Ex. ET, at 182:8–183:2.

       f.      One of IPRG’s experts (Mr. Cichanowicz) also testified that there is space to

install baghouses at Edwards, and IPRG identified no major technical barrier to siting baghouses

at Edwards. July 2, 2018 Cichanowicz Dep., Ex. DA, at 66:2–70:14; Dec. 21, 2017 IPRG Dep.,

Ex. ET, at 57:14-23, 88:16–109:18 (discussing Dustex baghouse installation proposals).

       g.      Ted Lindenbusch, the Plant Manager, testified that he was not aware of any long-

term plans to shut down Units 2 or 3. Nov. 30, 2018 Lindenbusch Dep., Ex. ES, at 94:16–95:21.

Plaintiffs requested that IPRG “Produce all documents concerning the possibility of future

decommissioning, long-term shutdown, or long-term reduction of load at Units 1, 2, or 3 at the

Facility (since 2013).” March 10, 2017 Pl. First Req. for Produc. of Docs. Relating to Remedy



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(Pl. Remedy RFP), Ex. DH, at 12 #27. IPRG has not produced any documents relating to the

retirement or shutdown of Edwards. Plaintiffs also requested that IPRG “Produce all documents

concerning personnel layoffs that would occur in the event of closure of any unit at the Facility

(since 2014).” Pl. Remedy RFP, Ex. DH, at 13 #34. IPRG responded that it “has no such

documents.” May 1, 2017 Defs’ Resp. to Pls.’ First Req. for Produc. Of Docs. Relating to

Remedy, Ex. DI, at 17. IPRG has not supplemented this response or produced any documents in

response to Plaintiffs’ Remedy Request for Production # 34.

        52.     Closing down Edwards is one of Plaintiffs’ primary goals. (McFadden Dep. at

9:24, 10:1-14, relevant excerpts attached herein as Ex. 16; Scrafford Dep. at 42:1-24, 43:1-4,

86:1-88:12, relevant excerpts attached herein as Ex. 17; “Sierra Club is hiring in Peoria,”

discussed in Ex. 17 at 106:19-111:22 and attached herein as Ex. 18.)

        Response:       This statement is irrelevant and does not accurately reflect any of the three

Plaintiff organizations’ motivations in this case. This statement is immaterial to IPRG’s Motion,

which rests on the false premise that none of IPRG’s violations (including its opacity violations)

are causing any harm cognizable under the Clean Air Act, and therefore, according to IPRG,

there is no harm to balance against the costs of injunctive relief. It is also irrelevant to this

proceeding generally; that a Plaintiff is hiring in Peoria, or has taken certain public positions on

energy policy, has no bearing on the existence of or appropriate remedies for IPRG’s Clean Air

Act violations. Pound v. Airosol Co., Inc., 498 F.3d 1089, 1097 (10th Cir. 2007).

        Plaintiffs also dispute the statement. Their collective goal in bringing this enforcement

action is to “address significant and ongoing violations of air pollution permit emission limits at

the E.D. Edwards Generation Plant in Bartonville, Illinois.” Second Am. Compl., ECF No. 87-1,

at 1.



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       53.     IPRG’s expert, Robert Lewis, concluded that the closure of the Edwards plant

would lead to the loss of roughly 90 jobs and approximately $90 million in economic benefit to

the already economically distressed greater Peoria area. (Lewis Dep. at 88:14-18, 111:18-112:15,

relevant excerpts attached herein as Ex. 19.)

       Response:       The conclusion IPRG cites is immaterial because it is based on an

unsubstantiated “scenario,” provided by IPRG’s counsel, concerning economic impacts “if the

jobs were eliminated or the plant downsized.” June 8, 2018 Lewis Dep., Ex. DJ, at 29:9-17; see

also Argument IV, infra. Mr. Lewis expressed no opinions on and made no predictions

concerning whether, if IPRG is forced to install new pollution controls, it will close or eliminate

any jobs at Edwards. Plaintiffs also dispute the cited conclusion because Mr. Lewis’s figures do

not account for mitigating circumstances. June 8, 2018 Lewis Dep., Ex. DJ, at 87:3-8, 91:18–

92:10, 185:4-23 (not incorporating reemployment), 131:4–132:23 (ignoring timeframe), 134:8-

19 (ignoring policymakers’ reactions), 199:8–200:5 (ignoring redevelopment opportunities).

       54.     Plaintiffs’ offered no expert testimony, and did not produce any admissible

evidence during discovery, to rebut Mr. Lewis’ conclusion.

       Response:       See also response to statement 53, supra, disputing Mr. Lewis’s

conclusion and its materiality. Plaintiffs add that the same methodology Mr. Lewis used to

estimate the economic impacts of closure could be used to show the beneficial economic impacts

of capital expenditures to install baghouses or new ESPs at Edwards. See June 8, 2018 Lewis

Dep., Ex. DJ, at 223:14-21. Plaintiffs’ expert Jonathan Shefftz referenced Mr. Lewis’s opinions

in his rebuttal report and noted that he was unaware of any commitment by IPRG or Vistra to

close Edwards. May 7, 2018, Expert Report of Mr. Jonathan Shefftz, Ex. DK, at 1-2, 26-27.




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                            ADDITIONAL MATERIAL FACTS

     1.       The parties’ experts agree that opacity and particulate matter are correlated at

Edwards. Roberson Report, Ex. EF, at 6-7; Sahu Report, Ex. EB, at 42-43.

     2.       The parties’ experts agree that opacity is a proxy for particulate matter. March 21,

2018 Expert Report of Mr. Thomas Keeler, (Keeler Report), Ex. EV, at 21, 23-24; Roberson

Report, Ex. EF, at 4-5; June 15, 2018 Roberson Dep., Ex. DB, at 85:21–86:5; Def. Resp. to Pl.

Mot. for Partial Summ. J., Illinois Power’s Add’l Facts, ECF No. 109, at 25-26 ¶ 12.

     3.       EPA and Illinois EPA agree that opacity and particulate matter are correlated, and

Illinois EPA assumed they are correlated at Edwards in developing Edwards’ draft Title V Clean

Air Act Permit. ECF No. 109, Def. Resp. to Pl. Mot. for Partial Summ. J., Illinois Power’s Add’l

Facts, at 25-26 ¶ 12; EPA Compliance Assurance Monitoring (CAM) Protocol for an ESP

Controlling PM from a Coal-Fired Boiler, Ex. DL, at 3; Statement of Basis, Ex. DG, at 48-49.

     4.       The parties’ experts agree that the plant emitted additional particulate matter

pollution each time it exceeded its opacity limits. Smith Report, Ex. EG, at 13-14; Roberson

Report, Ex. EF, at 11-13 (describing his development of estimates of how much particulate

emissions increase as opacity increases); June 15, 2018 Roberson Dep., Ex. DB, at 44:4-9; Sahu

Report, Ex. EB, at 43-44; Sahu Rebuttal, Ex. EA, at 46-48.

     5.       The parties’ experts agree that some of the particulate matter emitted from

Edwards’ stacks, including during violating opacity exceedances, is PM2.5. Sahu Rebuttal, Ex.

EA, at 48-56; Keeler Report, Ex. EV, at 77-78; March 21, 2018 Expert Report of Dr. Lucy

Fraiser (Fraiser Report), Ex. EW, at 8; Smith Report, Ex. EG, at 15-17; Schroeder Report, Ex.

EH, at 6; Roberson Report, Ex. EF, at 15.




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       6.      EPA agrees that increases in PM2.5 exposure are correlated with increased threats

to human health. See, e.g., National Ambient Air Quality Standards for Particulate Matter,

78 Fed. Reg. 3086, 3088, 3103-04 (Jan. 15, 2013); EPA ACE RIA, ECF No. 193-4, at 4-16 to 4-

18.

       7.      EPA assumes in its analysis of health effects from PM2.5 pollution that the

relationship between PM2.5 concentrations and premature mortality is linear. See, e.g., EPA ACE

RIA, ECF No. 193-4, at 4-21 to 4-25; Schwartz Report, ECF No. 193-2, at 1-13.

       8.      The Parties’ experts agree that exposure to PM2.5 can threaten human health.

Fraiser Report, Ex. EW, at 6-7; June 27, 2018 Fraiser Dep., Ex. DF, at 123:6–124:4; 149:19–

150:24; Schwartz Report, ECF No. 193-2, at 3-67; Schwartz Rebuttal, ECF No. 193-7, at 2-21.

       9.      Long- and short-term exposures to PM2.5 cause premature death. See EPA PM

ISA, ECF No. 193-12, at 2-11 to 2-12; Schwartz Report, ECF No. 193-2, at 10-33.

      10.      Long- and short-term exposures to PM2.5 harm cardiovascular health. See EPA

PM ISA, ECF No. 193-12, at 2-10, 2-12; Schwartz Report, ECF No. 193-2, at 44, 50-52.

      11.      EPA has not identified a threshold below which PM2.5 does not cause adverse

health effects. See EPA PM RIA, ECF No. 193-3, at ES-20 (“[T]here is no evidence of a

population-level threshold in PM2.5-related health effects in the epidemiology literature.”).

      12.      The Parties’ experts agree that there are health risks from exposure to PM2.5 at

levels below the primary annual NAAQS for PM2.5 (12.0 μg/m³). June 27, 2018 Fraiser Dep.,

Ex. DF, at 123:6–124:4; Schwartz Report, ECF No. 193-2, at 33-39; Schwartz Rebuttal,

ECF No. 193-7, 8-13, 15-16, 27, 33, 37.

      13.      PM2.5 concentrations at levels below the 12.0 μg/m³ annual primary NAAQS for

PM2.5 (including the levels around Edwards) are associated with increased risks of premature



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death and other serious health problems, including heart attacks and impaired lung function.

See Schwartz Report, ECF No. 193-2, at 2, 33-45; Schwartz Rebuttal, ECF No. 193-7, 8-13, 15-

16, 27, 33, 37; EPA PM RIA, ECF No. 193-3, at ES-20; see also EPA ACE RIA, ECF No. 193-4

at 4-21 (explaining that EPA “historically has estimated health impacts above and below the

prevailing NAAQS” for PM2.5).

    14.        The parties’ experts agree that PM2.5 from Edwards’ stacks disperses into and

spreads through the ambient air in and around Peoria. Jan. 17, 2018 Expert Report of Dr. H.

Andrew Gray, Ex. DM, at 5-9; Gray Rebuttal, Ex. DC, at 1, 11-14; Schroeder Report, Ex. EH,

at 8-12.

    15.        IPRG’s own reports to Illinois EPA and expert testimony show that opacity

violations continue at Edwards. June 26, 2018 Keeler Dep., Ex. ED, at 161:4–162:2; see also Pl.

Opening Summ. J. Br., ECF No 184-1, Stmt. of Undisputed Facts ¶¶ 27-31, Arg. § IX at 29-33

(describing violations identified in IPRG’s reports and expert’s testimony and compiled in

supporting Exhibit U); Ex. U to Pl. Mot. for Partial Summ. J. on Remedy, ECF No. 184-30

(violation compilation).

    16.        Many of the opacity exceedances the parties agree are also violations have

occurred and continue to occur in daylight, when the stacks and excess opacity are most visible.

Ex. A to Pl. Mot. for Partial Summ. J. on Remedy, ECF No. 184-4 (listing opacity violations

during the liability period, with occurrence times); Ex. U to Pl. Mot. for Partial Summ. J. on

Remedy, ECF No. 184-30 (listing additional opacity violations from July 1, 2014 to June 30,

2018 identified in IPRG’s reports and expert’s testimony, with occurrence times).

    17.        IPRG is a wholly owned subsidiary of Illinois Power Resources, LLC, which in

turn is a wholly owned subsidiary of IPH, LLC, which in turn is a wholly owned subsidiary of



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Vistra Operations Company LLC, which in turn is a wholly owned subsidiary of Vistra

Intermediate Company LLC, which in turn is a wholly owned subsidiary of Vistra Energy Corp.

Def. Amd. Certificate of Interest, ECF No. 191.

    18.        IPRG identified Ted Lindenbusch (Plant Managing Director), William Henning

(Plant Maintenance Manager) and Mark Davis (Plant Environmental and Chemistry Manager) as

the people most knowledgeable regarding long-term measures or significant steps that were

considered, analyzed, or evaluated and that would impact opacity or PM emissions at Edwards.

May 1, 2017, Def. Objs. and Answers to Pl. Interrogs., Ex. EX, at 3. IPRG identified Mr.

Lindenbusch as the person most knowledgeable regarding decision-making at Edwards,

including for capital expenditures and operations and maintenance expenditures. Id. at 4.

    19.        Dr. Sahu concluded that Edwards would continue to violate its opacity limit with

its current equipment and that it needs baghouses to avoid, and new ESPs to substantially reduce,

its violating exceedances. Sahu Report, Ex. EB, at 5, 39-42; Sahu Rebuttal, Ex. EA, at 7, 24-43.

    20.        IPRG’s experts did not disagree that Edwards will continue to violate its opacity

limits with its current equipment. July 2, 2018 Cichanowicz Dep., Ex. DA, at 108:19–109:16;

June 15, 2018 Roberson Dep., Ex. DB, at 261:18–262:14; 264:1–265:17.

    21.        IPRG’s experts did not identify any pollution-control equipment that they claim

would allow Edwards to eliminate further violating opacity exceedances. See July 2, 2018

Cichanowicz Dep., Ex. DA, at 108:19–109:16; June 15, 2018 Roberson Dep., Ex. DB, at

261:18–262:14; 264:1–265:17; see also Mar. 21, 2018 Expert Report of Mr. J. Edward

Cichanowicz, Ex. EC, at 38, 44-48.




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     22.          IPRG’s experts agreed that baghouses would improve Edwards’ opacity

performance. July 2, 2018 Cichanowicz Dep., Ex. DA, at 116:15–117:19, 142:9–147:16; June

26, 2018 Keeler Dep., Ex. ED, at 93:9–96:19.



                                             ARGUMENT

I.      Evidence that a defendant is still violating and releasing illegal pollution is sufficient
        to establish harm, for purposes of injunctive relief under the Clean Air Act

           IPRG cites the right four-factor test for permanent injunctive relief, see Mot. 12-13, but

largely ignores what the controlling authorities say about how to apply that test in cases to

enforce the Clean Air Act and other laws that exist to protect public health and the environment.

        The Supreme Court has emphasized that “[e]nvironmental injury, by its nature, can

seldom be adequately remedied by money damages and is often permanent or at least of long

duration, i.e., irreparable.” Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 545 (1987).

If environmental injury is “sufficiently likely,” “the balance of harms will usually favor the

issuance of an injunction to protect the environment.” Id. The Court has also instructed lower

courts to focus on “the underlying substantive policy” expressed in environmental-protection

laws when considering how best to enforce them. Id. at 544. This follows from the general rule

that once Congress has “decided the order of priorities in a given area, it is . . . for the courts to

enforce them when enforcement is sought.” United States v. Oakland Cannabis Buyers’ Co-op.,

532 U.S. 483, 497 (2001) (quoting Tenn. Valley Auth. v. Hill, 437 U.S. 153, 194 (1978)). “Courts

of equity cannot, in their discretion, reject the balance that Congress has struck in a statute. Their

choice (unless there is statutory language to the contrary) is simply whether a particular means of

enforcing the statute should be chosen over another permissible means; their choice is not

whether enforcement is preferable to no enforcement at all.” Id. at 497-98 (citations omitted).


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       The Clean Air Act exists “to protect and enhance the quality of the Nation’s air resources

so as to promote the public health and welfare and the productive capacity of its population.”

42 U.S.C. § 7401(b)(1). It reflects Congress’s concern about and desire to limit not only air

pollution that sickens and kills people, but also pollution that harms air quality and public

welfare in other ways—for example, by artificially darkening or clouding air in ways that

undermine people’s aesthetic and recreational interests in a clean environment. Cf. Sierra Club v.

Franklin Cty. Power of Ill., 546 F.3d 918, 925-27 (7th Cir. 2008); Liability Order, ECF No. 124,

at 13-24 (confirming Plaintiffs’ standing to seek injunctive relief and other remedies for IPRG’s

Clean Air Act violations at Edwards, and citing other cases recognizing that pollution that

threatens recreational or aesthetic interests causes cognizable injury under the Clean Air Act and

other federal environmental laws).

       Because the Act exists to “protect and enhance” air quality, 42 U.S.C. § 7401(b)(1), and

air pollution (like other environmental injury) is typically irreparable, a showing that a

defendant’s violations threaten air quality is normally sufficient to show irreparable injury and

entitle the plaintiff to injunctive relief. In Sierra Club v. Franklin County Power of Illinois, for

example, the Seventh Circuit affirmed an order enjoining the construction of a new coal plant

until the defendant had obtained a required Clean Air Act permit. 546 F.3d at 922-23. The court

first confirmed that the plant’s potential release (if construction were not enjoined) of some

pollution near a lake used by one of the Club’s members was sufficient to establish traceable

injury for standing purposes, even if “no one knows the ultimate magnitude of [the] injury—for

example, we don’t know if the particulate matter from the plant will blot out the sky or merely

create a thin haze that’s not visible to the naked eye.” Id. at 926-27. The court then reviewed the

district court’s injunction decision on the merits, and found the same facts concerning the



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threatened pollution sufficient to show irreparable injury under the test for injunctive relief. Id. at

936-97.

       Courts charged with enforcing the Clean Water Act have likewise found evidence that a

defendant’s violations are causing additional pollution to be released into the environment

sufficient to establish irreparable injury, for purposes of injunctive relief. In Tennessee Clean

Water Network v. Tennessee Valley Authority, for example, citizens’ groups sued to remedy a

coal plant’s ongoing discharges of coal ash waste into the Cumberland River. 273 F. Supp. 3d

775, 835-42 (M.D. Tenn. 2017). The court ruled that these discharges violated the plant’s permit,

id. at 842-43, and that plaintiffs had accordingly “easily cleared the initial hurdle of

demonstrating that injunctive relief is necessary.” Id. at 845. The court reasoned that “[t]he

injury here is the unlawful contamination of the river. The strict liability regime adopted by

Congress makes clear that unauthorized contamination itself is a harm warranting remediation.

The only adequate remedy is one that addresses and mitigates that unlawful contamination.” Id.;

see also Ohio Valley Envtl. Coalition, Inc. v. Hobet Mining, LLC, 723 F. Supp. 2d 886, 923-25

(S.D.W. Va. 2010) (defendant’s ongoing violations of an effluent limit, which were causing the

release of excess pollution into and thus degrading a watershed, were sufficient to establish

irreparable injury for purposes of injunctive relief); Pub. Interest Research Grp. of N.J. v. Yates

Indus., 757 F. Supp. 438, 455 (D.N.J. 1991) (finding that risk of future effluent violations was

“the very type of injury which the [Clean Water] Act was designed to protect against” and

therefore was sufficient to establish irreparable injury for purposes of injunctive relief).




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II.    IPRG’s opacity violations at Edwards are causing harmful air pollution that
       warrants injunctive relief under the Clean Air Act

       IPRG’s opacity violations have caused and continue to cause the type of harm that courts

have recognized warrants injunctive relief under the Clean Air Act and analogous statutes.

IPRG’s contrary arguments distort both the factual record and the law on injunctions.

       First, there is no genuine dispute that IPRG still regularly exceeds its opacity limits at

Edwards, including in circumstances that do not entitle it to any exemption and constitute new

violations of the Clean Air Act. See Pl. Opening Summ. J. Br., ECF No. 184-1, Stmt. of

Undisputed Facts ¶¶ 27-31 & Arg. § IX (identifying some of IPRG’s post-liability violations by

reference to its public and expert reports). The parties may disagree about how many violations

have occurred in the past few years, but there is no question that IPRG has violated its opacity

limits many times, over many years, including this past one. Id. This alone supports injunctive

relief. See NRDC v. Outboard Marine Corp., 692 F. Supp. 801, 820 n.34, 824 (N.D. Ill. 1988)

(enjoining future permit violations and questioning the defendant’s emphasis on the violation

count, given the “numerous violations that would remain even if [defendant] were right”); supra

Argument I (citing cases finding a defendant’s extended and ongoing violations of an emissions

limit were sufficient to establish irreparable injury).

       Second, as IPRG concedes, opacity is a measure of the light-blocking property of a

plant’s emissions. Mot. 14. Whenever the emissions from a stack at Edwards exceed 30%

opacity, they block additional light and interfere more with the air’s clarity. Excess opacity

accordingly impairs and harms air quality in and of itself. Illinois EPA recognized this principle

when it commented on the opacity rules that established Edwards’ 30% opacity limit and are

now codified in the Illinois SIP. See Resp. to IPRG Stmt. of Material Facts (Resp. to Facts) ¶ 23

(“esthetic concerns . . . should not be overlooked in air pollution control,” and “dirty and


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unsightly smoke plumes unreasonably interfere with the enjoyment of life or property” (internal

quotation marks omitted)). In asserting that opacity “does not cause harm,” Mot. 13-14, IPRG is

trying to relitigate the factual predicate for a regulation that has been the law in Illinois for

decades. It is too late for that. See Outboard Marine Corp., 692 F. Supp. at 823 (enjoining

defendant’s violations of its permit limits for total suspended solids and refusing to “go back to

square one to review whether the permit’s [total suspended solids] restrictions furthered the goals

of the [Clean Water] Act”).

        Third, it is undisputed that IPRG’s violations of its opacity limits cause additional

particulate pollution to be released, which disperses into the air around Peoria. Facts ¶¶ 1-5, 13.

This Court has noted that “there is a correlation between opacity and particulate matter emission

levels;” that is why “regulators use the degree of opacity as a proxy for the amount of particulate

matter that a plant emits.” Liability Order, ECF No. 124, at 3 (discussing the rationale for the

opacity limits that apply to Edwards). IPRG’s own experts have testified that opacity and

particulate matter emissions are correlated at Edwards. Facts ¶ 1. Illinois EPA has repeatedly

recognized that exceedances of the 30% opacity limit that applies to Edwards are associated with

higher emissions of particulate matter, including in its development of Edwards’ new draft Clean

Air Act Title V permit. Facts ¶ 3; Resp. to Facts ¶ 25.

        The parties may disagree about the best way to quantify how much additional particulate

matter has been released because of IPRG’s opacity violations, but it is undisputed that the

violations cause the release of some additional particulate matter, in addition to obscuring and

impairing natural air quality. See Facts ¶¶ 1-2, 4-5. This is more than sufficient to show that the

violations have caused the kind of environmental injury and harm that warrants injunctive relief.

See, e.g., Franklin Cty. Power, 546 F.3d at 927, 936. No “speculation” about injury is required.



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Contra IPRG Mot. 15 (citing In re Excel Innovations, 502 F.3d 1086 (9th Cir. 2007)).

       Fourth, there is no dispute that some of the pollution attributable to IPRG’s opacity

violations is composed of particles less than or equal to 2.5 microns in diameter, or PM2.5; that

people in the Peoria area are exposed to some of that PM2.5 as it moves away from the stacks at

Edwards and through the ambient air; and that PM2.5 pollution can threaten human health. Facts

¶¶ 5, 7-8, 11, 13. Any questions about how much PM2.5 pollution IPRG’s violations have caused

go (at most) to the degree of harm to health and the environment—not its existence.

       IPRG’s claim that Plaintiffs need their public health expert’s testimony to establish a

“triable issue” on harm, Mot. 15-16 n.3, thus mischaracterizes both the law and the factual

record. It is enough to show that IPRG’s violations impair air quality and cause pollution, and

there is not merely a triable issue but also agreement on the essential facts that show impairment

and pollution. Dr. Schwartz’s testimony, which surveys the literature on the dangers of PM2.5

pollution and estimates many people have died prematurely or been sent to the hospital because

Edwards lacks the pollution controls it needs to comply with its opacity limits, simply

underscores the public importance of injunctive relief that provides for those controls. 5

       Last, there is no reason to doubt that without an injunction, IPRG will continue violating

its opacity limits and harming air quality and public health in and around Peoria. IPRG has just

confirmed (through its Motion) that it does not plan to install the baghouses it needs to end its

opacity violations unless ordered to do so, and its experts have identified no viable alternative

controls that would end those violations at Edwards. Facts ¶ 19-22; Resp. to Facts ¶ 41(a).



       5
         See Pl. Opp. to Def. Mot. to Exclude, ECF No. 193, at 3-16 (summarizing some of Dr.
Schwartz’s testimony); Schwartz Rebuttal, ECF No. 193-7, at 42 (Dr. Schwartz’s estimates for
premature deaths and hospital admissions). The testimony is admissible in any event, for the
reasons stated in Plaintiffs’ response to IPRG’s motion to exclude it. See ECF No. 193.

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Injunctive relief is accordingly needed to end the harmful pollution associated with IPRG’s

violations and secure IPRG’s compliance with the Clean Air Act.

       Sierra Club v. Tennessee Valley Authority (TVA) and Sierra Club v. Energy Future

Holdings Corp., cited by IPRG, do not bolster its claim that injunctive relief should be

unavailable in this case. Contra Mot. 14-15. The main reason each court gave for denying

injunctive relief (following a bench trial) was a change in law that led it to conclude the

defendant was no longer violating the Clean Air Act. TVA, 592 F. Supp. 2d 1357, 1375-76 (N.D.

Ala. 2009) (citing a “total lack of evidence” that TVA was “in violation of existing law,”

following a change in permit terms); Energy Future Holdings Corp., No. 12-cv-108, 2014 WL

2153913, at *19-20 (W.D. Tex. Mar. 28, 2014) (similar). 6 Here, IPRG is still operating under,

and violating, the same opacity limits that have applied to Edwards since the liability period

began. Resp. to Facts ¶¶ 1, 20, 23.

III.   IPRG’s opacity violations are causing irreparable harm

       The unlawfully opaque and particle-laden flue gases IPRG releases in connection with its

opacity violations irreparably harm the environment and public health. Once illegal pollution

leaves Edwards’ stacks, there is no way to scrub it from Peoria’s air, to remove it from the bodies

of the people who end up breathing and ingesting it, to reverse the health problems and hospital



       6
          The court in Energy Future Holdings also found that there were no past violations to
remedy, because defendants established affirmative defenses for all of the contested opacity
exceedances. Energy Future Holdings, 2014 WL 2153913 at *19. The later commentary on
irreparable harm, see id. at *21, has no bearing here, where IPRG has been found liable and
continues to violate in ways that harm air quality and public health. It is also unpersuasive: it
relies, improperly, on common-law tort standards rather than authorities concerning what harms
are cognizable under the Clean Air Act and similar laws that impose strict liability on polluters.
Id. at *22 (citing Adams v. Johns-Mansville Sales Corp., 783 F.2d 589, 591-92); cf. Liability
Order, ECF No. 124, at 16 (recognizing in the context of standing that Clean Air Act plaintiffs
need not show a defendant’s illegal pollution “will assuredly cause health problems”).

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visits it causes, or to restore and extend the lives it cuts short. See Resp. to Facts ¶ 16; Facts ¶ 13

(citing evidence on health effects). These harms—like most environmental injuries, see Amoco,

480 U.S. at 545—are irreparable.

IV.     Plaintiffs do not have to show that IPRG is violating Edwards’ separate particulate
        limits to establish irreparable harm and the need for injunctive relief

        IPRG’s claim that “any continuing” opacity violations cause no harm because they “do

not result in violations of the applicable PM limit under Edwards’ permit,” Mot. 16, is an

improper bid to relitigate matters the Court resolved on liability and write the opacity limits out

of Edwards’ permit and the Illinois SIP. It also rests on an unsubstantiated and disputed premise

about IPRG’s compliance with Edwards’ particulate matter limits.

        As this Court recognized in its 2016 liability ruling, Edwards’ opacity and particulate

matter limits are separate and independently enforceable emissions limitations. Liability Order,

ECF No. 124, at 3 (“Both the Permit and the SIP limit the amount of particulate matter that

Edwards can emit while it is operating,” and “also . . . limit the opacity of the plume emanating

from Edwards’ two smokestacks,” and going on to discuss the correlation between opacity and

particulate matter emissions). Each of those limits furthers the Clean Air Act’s purposes by

promoting air quality and pollution control. See 42 U.S.C. § 7401(b)(1); see also Friends of the

Earth v. Potomac Elec. Power Co., 419 F. Supp. 528, 538 (D.D.C. 1976) (“[I]t is well-settled

that [] visible emissions regulations are emission limitations for pollution control purposes in

general and for the Clean Air Act in particular.”). Other courts presented with arguments similar

to IPRG’s have expressly rejected the idea that a defendant’s opacity limits are unenforceable

unless the defendant is also violating its particulate limits. See Sierra Club v. Union Elec. Co.,

No. 4:14-cv-00408-AGF, 2014 WL 5783032, at *2-5 (E.D. Mo. Nov. 6, 2014) (denying motion

to dismiss). Here, it is also undisputed that IPRG’s opacity violations harm Peoria’s air quality


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within the meaning of the Clean Air Act—whether or not IPRG is also violating Edwards’

particulate limits. Facts ¶¶ 1-2, 4-5, 8, 12, 13-15 & Argument I-II, supra.

       For the reasons above, a showing that IPRG is complying with its separate particulate

limits would not excuse its opacity violations and foreclose the injunctive relief needed to

remedy those violations. See Resp. to Facts ¶ 41(a) (describing some of the remedies Plaintiffs

will show at trial are needed to end the opacity violations alone); see also Oakland Cannabis,

532 U.S. at 497 (courts sitting in equity cannot “override Congress’ policy choice, articulated in

a statute, as to what behavior should be prohibited”). IPRG also has not made that showing. The

evidence it cites does not support its premise that Edwards has consistently operated “within [its

particulate] limits” in recent years. Mot. 16. And other evidence—including from IPRG’s own

experts—undermines that premise. Resp. to Facts ¶¶ 30-32.

V.     Plaintiffs do not have to show that IPRG’s violations have caused or will cause a
       NAAQS exceedance to establish irreparable harm and the need for injunctive relief

       IPRG’s claims about the national ambient air quality standards (NAAQS) for particulate

matter are irrelevant and factually wrong. 7 See Mot. 13, 16-17.

       The NAAQS claims are irrelevant because as Plaintiffs have just explained, IPRG’s

opacity violations are sufficient to establish harm and irreparable injury for purposes of the Clean

Air Act. Edwards’ opacity limits are independently enforceable against IPRG, including through


       7
         IPRG does not specify which NAAQS it is referring to. There are multiple NAAQS for
particulate matter, some that apply to PM2.5 and some that apply to all particulate matter less than
or equal to 10 microns in diameter (PM10), some focused on human health (known as the
“primary” NAAQS), others on public welfare. See 42 U.S.C. § 7409(a)(1)-(2), (b). The current
primary NAAQS for PM2.5 are an annual standard of 12.0 μg/m³ and a 24-hour standard of 35
μg/m³. 40 C.F.R. § 50.18(a); see also EPA, Table of Historical Particulate Matter (PM) National
Ambient Air Quality Standards, available at https://www.epa.gov/pm-pollution/table-historical-
particulate-matter-pm-national-ambient-air-quality-standards-naaqs (visited Sept. 18, 2018)
(attached as Ex. DN). Plaintiffs’ response focuses on the primary NAAQS for PM2.5 because
PM2.5 is particularly harmful to human health.

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injunctive relief. See 42 U.S.C. §§ 7604(a)(1), (f)(4), 7602(k) (empowering this Court to enforce

violations of any “emission standard or limitation,” including those imposed through the Illinois

SIP, id. § 7604(f)(4), and any other state-adopted limit on the “quantity, rate, or concentration of

emissions of air pollutants on a continuing basis,” id. § 7602(k)); Franklin Cty. Power, 546 F.3d

at 935 (injunctions and penalties are both available remedies under the Clean Air Act’s citizen

suit provision). IPRG cites no support for the notion that Plaintiffs must establish a violation of

some other emission standard or limitation before this Court can enjoin ongoing violations of its

opacity limits, see Mot. 16-17, and Plaintiffs are aware of none.

       IPRG also mischaracterizes the NAAQS’ purpose. As their name implies, NAAQS are

ambient standards that cap the levels of a regulated pollutant (such as PM2.5) that may be present

in the ambient air—not emissions of that pollutant from any individual source. See 42 U.S.C.

§ 7409; 40 C.F.R. § 50.18 (primary NAAQS for PM2.5). The whole reason Illinois has a SIP that

limits Edwards’ opacity and other emissions is that Congress understood ambient standards alone

would not achieve the Clean Air Act’s purposes, and so required states to adopt plans

“provid[ing] for implementation, maintenance, and enforcement of” the NAAQS. 42 U.S.C.

§ 7410(a)(1); see also id. § 7410(a)(2) (required contents of SIPs). SIPs must ensure both that

individual sources’ emissions do not “contribute significantly” to NAAQS violations, and also

that they do not cause any “significant deterioration of air quality” in areas where ambient

pollutant levels are below (or, in the Clean Air Act’s terms, in “attainment” with) the NAAQS.

Id. § 7410(a)(2)(D)(i); see also id. § 7471 (SIPs must “contain emission limitations and such

other measures as may be necessary . . . to prevent significant deterioration of air quality” in

areas classified as in attainment with a NAAQS under § 7407); LaFleur v. Whitman, 300 F.3d

256, 260 (2d Cir. 2002) (the Clean Air Act “seeks to prevent the significant deterioration of air



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quality in areas of the country that have achieved the NAAQS”).

       One reason Congress required states to regulate individual sources’ emissions of

NAAQS-regulated pollutants even in NAAQS attainment areas is that it “recognized that there

are potentially adverse affects [sic] from air pollution at levels below the NAAQS.” Whitman,

300 F.3d at 270. Courts have accordingly rejected arguments (like IPRG’s here) that so long as

the affected area is in attainment with the NAAQS for a given pollutant, a defendant’s illegal

emissions of that pollutant do not injure public health or the environment within the meaning of

the Clean Air Act. Id. at 269-71 (confirming plaintiffs’ standing to challenge permitting

determination that would lead facility to release more sulfur dioxide into the ambient air than it

would if plaintiffs prevailed, notwithstanding defendant’s claim that even in a “worst case”

scenario, ambient levels would remain “well below” the NAAQS for sulfur dioxide).

       There is also scientific consensus that PM2.5 pollution at below-NAAQS levels increases

the risk of premature death and other health problems. Facts ¶¶ 11-13. The evidence on this point

includes EPA’s own analyses for the PM2.5 NAAQS and for national limits on pollution from

coal-fired power plants. Facts ¶¶ 6-13; Resp. to Facts ¶ 10. IPRG’s expert (Dr. Fraiser) agrees

that there are health risks from exposure to PM2.5 below the NAAQS. Facts ¶ 12. Other courts

charged with enforcing Clean Air Act violations have recognized that illegal PM2.5 pollution

harms human health regardless of how the levels of PM2.5 in the ambient air compare to the

NAAQS, because there is no level of PM2.5 pollution that does not harm human health. See

United States v. Westvaco Corp., CV MJG-00-2602, 2015 WL 10323214, at *9 (D. Md. Feb. 26,

2015) (crediting “the majority scientific consensus . . . that the harm from exposure to PM2.5 is

linear, and there is no known threshold below which PM2.5 is not harmful to human health”);

North Carolina ex rel. Cooper, 593 F. Supp. 2d at 821 (finding “PM2.5 exposure has significant



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negative impacts on human health, even when the exposure occurs at levels at or below the

NAAQS”), rev’d on other grounds, 615 F.3d 291 (4th Cir. 2010). That IPRG or its expert may

disagree with EPA and Dr. Schwartz about the relative dangers of below-NAAQS PM2.5

pollution just underscores why an injunction to remedy IPRG’s violations and associated PM2.5

pollution cannot be “take[n] . . . off the table” on summary judgment. Contra Mot. 17.

VI.    Although the Court need not reach these issues to deny IPRG’s Motion, the balance
       of harms and public interest also weigh strongly in favor of injunctive relief

       The law and facts cited above dispose of IPRG’s arguments that there is “no evidence of

harm to human health or the environment,” Mot. at 13, and—by extension—that “there is

nothing for the Court to balance” under the four-factor test for permanent injunctive relief. See

Mot. 17. There is no genuine dispute that IPRG’s violations have caused and continue to cause

irreparable harm. 8 Any disputes go, at most, to the depth of harm and the precise scope of the

injunction this Court should issue following the remedy trial this March.

       In the event that this Court wishes to consider Part B of IPRG’s brief, Plaintiffs provide

the following response to IPRG’s mischaracterizations of the relevant facts and law on economic

hardship in the context of injunctive relief under the Clean Air Act and analogous statutes. 9


       8
          At the very least, the evidence Plaintiffs cite here precludes summary judgment to IPRG
on whether its violations cause harm and warrant injunctive relief. See Liability Order, ECF No.
124, at 6 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50 (1986)) (“At the
summary judgment stage, the court may not resolve issues of fact; disputed material facts must
be left for resolution at trial.”). This case is nothing like the individual tort and employment cases
IPRG relies on, where the defendant was granted summary judgment after an individual plaintiff
failed to come forward with any evidence (apart from their own statements and speculation) that
created a factual dispute on any material issue. See Nunez v. Gordon Food Serv., Inc., No. 1:16-
CV-1077-JBM-JEH, 2017 WL 3610566, at *4 (C.D. Ill. Aug. 22, 2017); Henderson v. May
Dep’t Stores Co., No. 06-C-1933, 2008 WL 2952322, at *1-3 (N.D. Ill. July 30, 2008).
       9
        IPRG focuses on the prospect that this Court will order it to install new pollution control
at Edwards. This is an important element of the injunctive relief Plaintiffs plan to seek, but they
may request other measures to help end IPRG’s violations and mitigate the harm those violations
have caused the public. See Resp. to Facts ¶ 48 (describing some such measures).

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       A.      The Court cannot credit IPRG’s unsubstantiated claims that new pollution
               controls at Edwards are “financially untenable”

       IPRG’s assertions that an order requiring it to install baghouses or new ESPs would

“cause great harm to IPRG,” “unjustifiably injure the public interest,” and “lead to the closure of

[Edwards]” are unsubstantiated. Mot. 17. The only pieces of evidence IPRG cites on these points

are a declaration IPRG filed four days after the summary judgment deadline, from Vistra Energy

Corporation’s Chief Fossil Officer Barry Boswell, and excerpts from the report of Mr. Lewis,

who assumed a plant closure for purposes of his analysis but did not opine on whether (or under

what circumstances) Edwards would close. See id.; see also id. at 11, IPRG Stmt. of Facts 48-54.

       The Court should not credit the Boswell declaration. IPRG filed it four days after the

August 31, 2018 dispositive-motion deadline, without the Court’s permission. See ECF No. 189

(filed Sept. 4, 2018); Dec. 14, 2017 Text Order (setting Aug. 31, 2018 deadline). It is conclusory,

based on Mr. Boswell’s discussions with people he does not name and perhaps other

“information” he does not identify. ECF No. 189 ¶ 7. And it does not square with what IPRG has

said and produced to Plaintiffs in remedy discovery.

       With respect to the affordability of new controls, IPRG and its predecessor, original

defendant AERG, have solicited and received several detailed consultant proposals to install

baghouses at Edwards. Resp. to Facts ¶ 51(c). Ted Lindenbusch, IPRG’s Plant Managing

Director and one of the people IPRG designated as most knowledgeable about any significant

steps IPRG has considered that would affect Edwards’ opacity and particulate matter emissions,

included $51 million to install baghouses or upgrade Edwards’ ESPs in 2017 or 2018 in a capital

plan he prepared for the Plant. Resp. to Facts ¶ 51(e) (discussing 2015 five-year capital plan). At

least one earlier budget includes $202 million for baghouses at Edwards. Resp. to Facts ¶ 51(d).




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       With respect to closure, at his individual deposition, shortly before the end of fact

discovery on remedy, Mr. Lindenbusch testified that he was unaware of any discussions about

ceasing operations of either Unit 2 or Unit 3 (the two still-operating units) at Edwards. Resp. to

Facts ¶ 51(g); see also Pl. Opening Summ. J. Br., ECF No. 184-1, Stmt. of Undisputed Facts ¶ 6

(Unit 1 retired in 2016). Plaintiffs’ remedy-phase document requests, which IPRG has an

ongoing duty to supplement, include requests for “all documents concerning the possibility of

future decommissioning [or] long-term shutdown” of those units, and “all documents concerning

personnel layoffs that would occur in the event of closure” of those units. Resp. to Facts ¶ 51.

IPRG has not produced any such documents.

       The Court should disregard the Lewis testimony IPRG cites on closure because it

depends on the premise that an injunction will cause closure, Resp. to Facts ¶ 53, and the only

evidence in support of that premise is the improper Boswell declaration. Resp. to Facts ¶ 51.

       B.      That IPRG does not want to pay to comply with the Clean Air Act is
               irrelevant to this Court’s decision about what injunctive relief is warranted

       Part B of IPRG’s Motion boils down to an argument that the Court should not order

installation of the pollution controls Edwards needs to end its opacity violations because IPRG

(or its corporate parent Vistra Energy Corporation) would rather not pay for them. 10 That IPRG

would rather not pay for baghouses (or the new ESPs needed to substantially reduce its

violations, see Resp. to Facts ¶ 41(a)) because it considers them too costly is irrelevant to this

Court’s decision about whether to order installation, for several reasons. 11


       10
          As discussed earlier, there is no genuine dispute that ending IPRG’s violations will
require installation of baghouses; IPRG and its experts have not identified any alternative
technology that would accomplish the same goal. Facts ¶ 19-22; Resp. to Facts ¶ 41(a).
       11
          IPRG’s refusal to invest in the necessary pollution controls is relevant to civil penalties
and weighs in favor of a higher penalty amount, because penalties must be based on factors
including “the violator’s full compliance history and good faith efforts to comply” and the
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       First, many laws require businesses to make investments the businesses might not

otherwise choose to make. This Court presumably would not excuse IPRG from paying property

or employment taxes, or funding construction mandated by local fire or building codes, just

because the company deemed those costs economically burdensome or “untenable.”

Environmental laws are fundamentally no different from the many other laws and regulations

that exist to protect the public and force businesses to account for some of the negative side

effects—like pollution—of private enterprise. Investments necessary to comply with the Clean

Air Act and Illinois SIP are a non-negotiable cost of doing business in Illinois.

       Second, Illinois EPA decided what balance to strike between Edwards’ owners’ interests

in financial gain and the public’s interest in avoiding harmful air pollution when it adopted the

30% opacity limit in the Illinois SIP, and again when it issued Edwards’ current operating permit

in 2004. See Resp. to Facts ¶ 20. The permit and Illinois SIP already allow Edwards to release a

substantial amount of PM2.5 and other pollution into Peoria’s air. The reason Plaintiffs are

seeking injunctive relief and other remedies is that IPRG and its predecessors have repeatedly

violated those generous limits and released more harmful air pollution than the law allows. By

refusing to invest in the pollution controls Edwards needs to comply with emissions standards

that have applied to it for decades, IPRG and its predecessors have upset the balance Congress

and Illinois struck between private profits and protection of public health and the environment.




violations’ seriousness. 42 U.S.C. § 7413(e)(1). Baghouses are used at many coal-fired power
plants in the United States, and IPRG has identified no meaningful technological barriers to
installing them at Edwards. Sahu Rebuttal, Ex. EA, at 38-40; Sahu Report, Ex. EB, at 46;
Resp. to Facts ¶ 51(f). IPRG is also able to pay for baghouses, and for new ESPs (which would
cost less and would meaningfully reduce but not eliminate violations). Resp. to Facts ¶ 51(c)-(e);
see also Pl. Opening Summ. J. Br., ECF No. 184-1, Stmt. of Undisputed Facts ¶¶ 61-62, 64,
69-70, 75-81 (additional facts relevant to IPRG’s ability to pay).

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       Once a polluter like IPRG violates an emissions standard in ways that harm public health

or the environment, the equities tip sharply towards injunctive relief—and away from further

private gain. One reason for this is that courts must align their weighing of the equities with the

priorities Congress has expressed. See supra Arg. I; Idaho Conservation League v. Atlanta Gold

Corp., 879 F. Supp. 2d 1148, 1161 (D. Idaho 2012) (concluding that the costs of new pollution

controls “do not constitute an extreme economic hardship that would militate against the entry of

an injunction,” and that “[h]arm to environment outweighs a defendant’s financial interests,

particularly where the violations are of a longstanding and continual nature”); Pub. Interest

Research Grp. of N.J., Inc. v. Top Notch Metal Finishing Co., No. CIV.A. 87-3894, 1987 WL

44393, at *5 (D.N.J. Nov. 6, 1987) (“If to stay in business [the defendant] must expend a large

sum of money to come into immediate compliance with toxic substance limitations, that is a

balance Congress has struck in favor of the environment, and I do not strike the balance

differently here.”); cf. Ohio Valley Envtl. Coalition v. U.S. Army Corps of Eng’rs, 528

F. Supp. 2d 625, 632, 634 (S.D.W. Va. 2007) (cited by IPRG) (preliminarily enjoining the filling

of a valley with mining waste to avoid irreparable injury to the valley and people nearby,

notwithstanding company’s claim that it might respond by abandoning the mine).

       Yet another reason the equities tip sharply towards injunctive relief is that violators like

IPRG should not “be able to obtain an economic benefit vis-a-vis their competitors due to their

noncompliance with environmental laws.” Pub. Interest Research Grp. of N.J., Inc. v. Powell

Duffryn Terminals, Inc., 913 F.2d 64, 80 (3d. Cir. 1990) (quoting S. Rep. No. 50, 99th Cong., 1st

Sess. 25 (1985), which discussed one of Congress’s rationales for directing courts to consider

“the economic benefit of noncompliance” when setting Clean Water Act penalties). Allowing

IPRG to keep illegally polluting for the indefinite future because it would rather not pay for



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adequate pollution controls would not only irreparably harm Peoria’s air and everyone who

breathes it, but also disadvantage competitors who have paid for such controls. It would send the

message that it is better to cut corners and gamble on enforcement than to invest in compliance.

       The citations in the final section of IPRG’s brief simply underscore the contrast between

this case and those where courts have declined injunctive relief. In Weinberger v. Romero-

Barcelo, the district court ordered the defendant to apply for a required Clean Water Act permit

but did not enjoin unpermitted discharges during the application process. See 456 U.S. 305, 309-

10, 320 (1982). The Supreme Court found that the more limited injunction did not undermine the

Act’s purposes. It noted that “[t]he [d]istrict [c]ourt did not face a situation in which a permit

would very likely not issue, and the requirements and objective of the statute could therefore not

be vindicated if discharges were permitted to continue.” Id. at 320. It also found the discharges

were “not polluting the water.” Amoco, 480 U.S. at 542 (discussing the basis for the Romero-

Barcelo decision). Even so, the Court cautioned that “[s]hould it become clear that no permit will

be issued and that compliance with the [Act] will not be forthcoming, the statutory scheme and

purpose would require the court to reconsider the balance it has struck.” Romero-Barcelo, 456

U.S. at 320.

       In Amoco, similarly, the Court found the district court could properly deny a preliminary

injunction against oil exploration, under a law aimed at preserving subsistence resources, based

on the district court’s finding that “injury to subsistence resources from exploration was not at all

probable.” 480 U.S. at 545; see also id. at 539-40.

       In Kleinman v. City of Austin, the court denied the plaintiff’s requested injunction after

finding that (1) there was “no evidence” the defendant’s illegal erosion was “detrimental to

human health;” (2) the defendant had already committed to a $12.5 million construction project



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that would “substantially reduce” that erosion; and (3) the plaintiff had failed to show “that an

alternative project would better stymie erosion.” 310 F. Supp. 3d 770, 781 (W.D. Tex. 2018).

       This case is a far cry from the ones IPRG relies on. More than a decade after the liability

period started, four years after it ended, and two years after this Court’s summary judgment

ruling on liability, IPRG is still violating the Clean Air Act at Edwards. With each new violation,

IPRG releases more PM2.5—a pollutant that hastens death and causes other serious health

problems—into Peoria’s air. IPRG has just affirmed that it does not plan to install the pollution

controls it needs to end its violations, which are widely used in its industry and feasible to install

at Edwards. Facts ¶ 19-22; Resp. to Facts ¶¶ 41(a), 51(c)-(f); Sahu Rebuttal, Ex. EA, at 38-40;

Sahu Report, Ex. EB, at 46. It has not identified, let alone committed to install, any alternative

controls that would end its violations. Facts ¶ 19-22; Resp. to Facts ¶ 41(a). It asks, instead, for a

permanent pass on compliance.

       An order denying injunctive relief in these circumstances would force Plaintiffs’

members and the public to keep breathing dangerous and technologically avoidable pollution for

the indefinite future and condone lawbreaking for private financial gain. It would be an abuse of

discretion and an abdication of this Court’s responsibility under the Clean Air Act.

                                          CONCLUSION

       IPRG’s motion for summary judgment should be denied.

                                               Respectfully submitted September 21, 2018,

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                 Health Association




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                            CERTIFICATE OF COMPLIANCE

       The undersigned certifies that the foregoing PLAINTIFFS’ OPPOSITION TO

DEFENDANT’S MOTION FOR SUMMARY JUDGMENT CONCERNING

INJUNCTIVE RELIEF complies with the type volume limitation set forth in Local Rule

7.1(D)(5). The Argument contains a total of 6170 words.


                                                  s/ Selena Kyle
                                                  Selena Kyle




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2018, I caused the following to be served on all

parties’ counsel via the Court’s CM/ECF system:

     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY
              JUDGMENT CONCERNING INJUNCTIVE RELIEF

                           EXHIBITS DA THROUGH DN
               (EXHIBITS EA THROUGH EX BEING FILED UNDER SEAL)

                     MOTION FOR LEAVE TO FILE UNDER SEAL

                             DECLARATION OF IAN FISHER

                                                    s/ Selena Kyle
                                                    Selena Kyle
